Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 1 of 51




 EXHIBIT A
    Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 2 of 51




             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

ALPHA PHI ALPHA FRATERNITY
INC., et al.,
                                       CIVIL ACTION
          Plaintiffs,
                                       FILE NO. 1:21-CV-05337-SCJ
     v.

BRAD RAFFENSPERGER,

          Defendant.

COAKLEY PENDERGRASS, et al.,

          Plaintiffs,

     v.                               CIVIL ACTION

BRAD RAFFENSPERGER,                   FILE NO. 1:21-CV-05339-SCJ

          Defendant.

ANNIE LOIS GRANT, et al.,

          Plaintiffs,
                                      CIVIL ACTION
     v.
                                      FILE NO. 1:22-CV-00122-SCJ
BRAD RAFFENSPERGER,

          Defendant.



                   DECLARATION OF GINA WRIGHT
                        (REMEDIAL MAPS)
      Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 3 of 51




      Pursuant to 28 U.S.C. § 1746, I, GINA WRIGHT, make the following

declaration:

      1.       My name is Gina Wright. I am over the age of 21 years, and I am

under no legal disability which would prevent me from giving this declaration.

If called to testify, I would testify under oath to these facts.

      2.       I am the Executive Director of the Legislative and Congressional

Reapportionment Office (LCRO), a joint office of the Georgia General

Assembly. The LCRO is responsible for providing redistricting services to

legislators using data obtained from the United States Census Bureau. The

LCRO assists the General Assembly in drawing the districts of the State

Senate and State House of Representatives, the Public Service Commission, as

well as the fourteen (14) United States Congressional districts. Through

sponsorship from a legislator, the LCRO also assists local County

Commissions, Boards of Education, and City Councils in adjusting their

districts. Finally, the LCRO also provides an array of maps and data reports

to both legislators and the public at large.

      3.    As Executive Director, I oversee and direct a staff of four (4) in

providing redistricting and other mapping services to the Georgia General

Assembly. These services may include drawing maps for statewide legislative

districts, local redistricting plans, city creation boundaries, annexations and

de-annexations, as well as precinct boundary changes. All local redistricting


                                         2
      Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 4 of 51




bills through the House Committee on Intragovernmental Coordination

require my signature following a technical review of the bill. I am the official

state liaison for Georgia for the 2020 Census Redistricting Data Program. I

oversee the creation of our statewide voting precinct mapping layer through

my work with all county election officials throughout the state. I assist the

Office of the Attorney General in candidate qualification challenges related to

issues regarding a candidate's residency.

      4.      I regularly assist federal courts as an expert or technical advisor

1n redistricting matters. I participate in the Redistricting and Elections

Standing Committee of the National Conference of State Legislatures and

contribute to their databases and publications. Finally, I participate as a

presenter in statewide forums such as The Georgia Association of Voter

Registrars and Elections Officials Association ("GAVREO"), the Georgia

Municipal Association (the "GMA"), the Association of County Commissioners

in Georgia (the "ACCG") and the Georgia Legislative CLE class.

      5.      I began work with the LCRO in December of 2000 as a

Redistricting Services Specialist. I became Executive Director of the LCRO in

June 2012. I am a 2000 summa cum laude graduate from Georgia State

University. I have a Bachelor of Arts degree in Political Science and a minor

in Spanish.




                                        3
      Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 5 of 51




      6.      I have been appointed as an expert or technical advisor for

redistricting by federal courts in the following cases:

      • Ga. State Con/ of the NAACP v. Fayette County Bd. of Comm 'rs, 996

           F. Supp. 2d 1353, 1359 (N.D. Ga. 2014) (appointed as the Court's

           "independent technical advisor"); see also Ga. State Conf of the

           NAACP v. Fayette County Bd of Comm 'rs, 118 F. Supp. 3d 1338, 1340

           (N.D. Ga. 2015) ("Court-appointed expert or technical advisor").

      • Crumly v. Cobb County Bd. of Elections & Voter Registration, 892 F.

           Supp. 2d 1333, 1344 (N.D. Ga 2012) (appointed as the "Court's

           technical advisor and consultant").

      • Martin v. Augusta-Richmond County, 2012 U.S. Dist. LEXIS 85113,

           *2-3 (S.D. Ga 2012) (appointed by Court as "advisor and consultant").

      • Walker v. Cunningham, 2012 U.S. Dist. LEXIS 178337, *5 (S.D. Ga.

           2012) (appointed by Court "as its independent technical advisor") (3

           judge panel).

      • Bird v. Sumter County Board of Educ., CA No. 1:12cv76-WLS (M.D.

           Ga. 2013) ECF 70 p. 5 (appointing Gina Wright as the Court's

           "independent technical advisor").

      • Adamson v. Clayton County Elections and Reg. Bd., CA No.

           1:12cvl665-CAP (N.D. Ga. 2012), ECF 23 p. 2 (appointing Gina

           Wright as the Court's "independent technical advisor").


                                        4
         Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 6 of 51




         7.       In the past several years I have testified, either at trial or by

deposition, in:

         •     NAACP v. Kemp, CA No. 1:17-cv-1427 (N.D. Ga.) (3 judge court)

               (consolidated with Thompson v. Kemp).

         •     Ga. State Conf. of the NAACP v. Fayette County Bd. Of Comm'rs.

         •     The trial of all three of these cases as an expert witness in the

               preliminary injunction proceeding and as a fact witness in the trial of

               these cases.

         8.       I am not being compensated separately for my work in this matter.

         9.       I was the map drawer for all three remedial plans prior to and

during the 2023 special legislative session. No member of my staff drew any of

the districts-I was the sole map drawer.

         10.      I worked directly with Sen. Shelly Echols, Sen. Bo Hatchett, and

Rep. Rob Leverett on the creation of the 2023 remedial Congressional, state

Senate, and state House plans.

         11.      I was provided by counsel with block equivalency files for the

Plaintiff plans referenced in this court's order and imported those into our

office system so I could review them in preparation for drawing the remedial

plans.

         12.     My office prepares legal descriptions, map packets, and other

mapping files for each plan where any legislator requests that the plan be


                                             5
       Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 7 of 51




introduced as legislation. Each map packet includes copies of the map, various

zoomed-in views, and statistics regarding that plan.         These plans and

associated information are posted to the webpage for my office at the request

of the legislator.

      13.    Attached as Ex. 1 is the map packet for the 2023 remedial

Congressional plan, SB 3EX. This map was first publicly released on the

webpage of my office on December 1, 2023.

      14.    Attached as Ex. 2 is the map packet for the 2023 remedial Senate

plan, SB lEX. This map was first publicly released on the webpage of my office

on November 27, 2023.

      15.    Attached as Ex. 3 is the map packet for the 2023 remedial House

plan, HB lEX. This map was first publicly released on the webpage of my office

on November 28, 2023. Attached as Ex. 4 is another statistical sheet showing

the AP Black percentages for the plan. 1




1 Our office does not traditionally produce statistical packets using the "Any-

Part" numbers because the totals will add up to more than 100% which can
cause confusion. But we prepared those reports during the special session
because we understand courts use "Any-Part Black" numbers in reviewing
redistricting plans.

                                       6
       Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 8 of 51




                           CONGRESSIONAL PLAN

      16.    The Congressional remedial plan adds a new majority-Black

district, District 6, which was previously a majority-white district.

      17.    District 6 is located in western metro Atlanta and is located in

portions of Cobb, Douglas, and Fulton Counties.           District 6 includes the

entirety of the cities of Powder Springs, Austell, Smyrna, South Fulton,

Fairburn, and Union City.

      18.    With the reconfiguration of the Congressional districts, the

Congressional remedial plan has five districts with a majority AP Black

percentage on total population (2, 4, 5, 6, and 13) and four districts with a

majority AP Black percentage using voting-age population (4, 5, 6, and 13).

      19.    The Congressional remedial plan increases the county splits from

the 2021 enacted Congressional plan by one but reduces the number of counties

that were split into four districts from two counties to one county.

                            STATE SENATE PLAN

      20.    The Senate remedial plan contains two new majority-Black

districts, which are District 17 (located in south Metro Atlanta) and District 28

(located in portions of south and west Metro Atlanta).

      21.    The new majority-Black district numbers correspond to the

districts on the Plaintiffs' illustrative plans for ease of reference.




                                          7
         Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 9 of 51




         22.   Other district numbers were changed when districts collapsed

from one area and moved to another area so those changes were clear.

         23.   The Senate remedial plan increases the county splits from the

2021 enacted Senate plan by one because Carroll County is newly split. It

reduces the number of splits in Douglas County from three to two and in

DeKalb County from seven to six.

                             STATE HOUSE PLAN

         24.   The House remedial plan contains five new majority-Black

districts, which are District 64 (located in western Metro Atlanta), District 74

(located in south Metro Atlanta), District 117 (located in south Metro Atlanta),

District 145 (located in the Macon area), and District 149 (located in the Macon

area).

         25.   Two of the new majority-Black districts (District 64 and District

117) are located completely within a county.

         26.   District 64 is wholly within Douglas County and encompasses the

Chapel Hill community with a large portion of the attendance areas for Chapel

Hill High School and New Manchester High School.

         27.   District 117 is wholly within Henry County and includes

communities in central and south Henry including the majority of the area

surrounding Luella High School and McDonough High School.




                                        8
      Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 10 of 51




      28.    The new majority-Black district numbers correspond to the

districts on the Plaintiffs' illustrative plans for ease of reference.

      29.    Other district numbers were changed when districts collapsed

from one area and moved to another area so those changes were clear.

      30.    The House remedial plan reduces the county splits from the 2021

enacted House plan by one, for a total of 68 split counties. It reduces the total

number of district splits in Douglas, Gwinnett, Rockdale, and Spalding

Counties by one each.

                         IMPLEMENTATION ISSUES
      31.    My office prepares information for county election officials when

district boundaries change. This notifies county election officials that there has

been a change to the districts and what the new district numbers for each type

of map should be in their county.

      32.    Maps and electronic files are provided to assist them as they

update information in the voter-registration database assigning voters to the

districts they will vote in.

      33.   Across all three plans, the total number of counties that are

required to make changes to district boundaries as a result of the remedial

plans is 20 out of 159 or only about 12.6% of the counties in Georgia.




                                         9
     Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 11 of 51




      34.   An additional 21 counties will have to change a district number

only, but not modify any of their district combinations or adjust voter

assignments.

      35.   Minimizing the number of counties that have to make changes is

a benefit to election officials because it means most counties will not have to

make updates to implement the 2023 remedial plans.

      36.   Further, my office regularly receives updated precinct information

from counties. An updated precinct layer is created every two years and is

posted on our webpage. Current precincts will differ from Census VTDs.

      37.   The Census VTD layer corresponds to the 2018 voting precinct

layer used in Georgia. This was the most recent version available when the

VTD layer submission program deadline occurred.

      38.   During the process of drawing the remedial plans, I utilized the

most current precinct boundaries available instead of Census VTDs. Using

whole precincts helps election officials by reducing the number of ballot

combinations in each county.

     39.    These whole new precincts will appear as split VTDs on a report

from Maptitude or other GIS software because the standard reports in the

software packages generally only utilize Census VTDs.

     40.    As an example, the Senate remedial plan in Newton County relies

entirely on the new precincts in that county that were just approved in mid-


                                      10
     Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 12 of 51



2023. A VTD report shows this as three (3) split VTDs where it is actually four

(4) whole precincts.



      I declare under penalty of perjury that the foregoing is true and correct.

Executed this 18th day of December, 2023.

                                             AMvL m. tLJ2Ai#=
                                            GINA WRIGHT




                                      11
Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 13 of 51




                      EXHIBIT 1
              Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 14 of 51
                                                                                                      Client: 5049
                                                                                                      Plan : Congress-2023

                                            Proposed Congressional Districts of Georgia               Type: Congress




Legislative and Congressional
Rea pportionment Office                                                                     Map layers
                                                                                            Districts
           Georgia General Assembly
  Suite407CoverdelllegislativeOfficeBldg.                                                 □ county
                                                                                                 20                  40
                                                             ©2021 CALIPER
                                                                                                Miles
Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 15 of 51
Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 16 of 51
                                            Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 17 of 51
       User: S049
 Plan Name: Congress-2023
  Plan Type: Congress

Population Summary

District          Population Deviation             % Devn.   [18+_Pop] [% 18+_Pop] [% NH_Wht]   [% NH_Blk] [% Hispanic [% NH_Asn] [% NH_Ind] [% NH_Hwn] [% NH_Oth]   [% NH_2+
                                                                                                               Origin]                                                  Races]
001                       765,137             1      0.00%      589,266     77.01%     57.59%       27.54%      7.75%       2.19%      0.24%      0.16%      0.44%        5.32%
002                       765,137             1      0.00%      587,555     76.79%     39.94%       49.03%      5.95%       1.34%      0.21%       0.1%      0.34%        4.02%
003                       765,136             0      0.00%      586,319     76.63%     64.37%       22.61%      6.31%       2.09%      0.21%      0.04%      0.47%          5.1%
004                       765,137             1      0.00%      582,946     76.19%     19.71%       47.54%     19.25%        9.6%      0.16%      0.03%      0.64%        4.03%
005                       765,137             1      0.00%      613,735     80.21%     31.02%       49.79%      9.89%       5.07%      0.17%      0.03%      0.55%        4.34%
006                       765,136             0      0.00%      593,690     77.59%     29.78%       50.18%     12.34%        3.4%      0.17%      0.04%      0.68%          4.4%
007                       765,137             1      0.00%      579,339     75.72%     63.72%        7.75%     10.24%      13.54%      0.17%      0.04%      0.58%        5.25%
008                       765,136             0      0.00%      585,857     76.57%     57.91%       29.72%      7.17%       1.56%      0.19%      0.05%      0.31%        4.03%
009                       765,135             -1     0.00%      582,752     76.16%     60.91%       11.91%     16.14%       6.75%      0.18%      0.04%      0.45%        4.76%
010                       765,137             1      0.00%      590,322     77.15%     62.48%       23.32%      7.61%       2.25%      0.17%      0.03%      0.54%        4.67%
011                       765,135             -1     0.00%      589,100     76.99%     66.68%       11.44%     12.15%       4.14%      0.19%      0.04%       0.8%        5.93%
012                       765,136             0      0.00%      588,119     76.86%     52.13%       36.12%      5.63%       1.83%      0.21%      0.11%      0.36%          4.7%
013                       765,136             0      0.00%      572,137     74.78%     24.58%       49.62%     14.48%       6.91%      0.18%      0.05%       0.7%        4.63%
014                       765,136             0      0.00%      579,137     75.69%     69.99%       11.86%     11.94%       1.51%      0.21%      0.04%      0.44%        5.28%

Total:          10,711,908
Ideal District:    765,136


Summary Statistics:
Population Range:                   765,135 to 765,137
Ratio Range:                        0.00
Absolute Range:                     -1 to 1
Absolute Overall Range:             2
Relative Range:                     0.00% to 0.00%
Relative Overall Range:             0.00%
Absolute Mean Deviation:            0.57
Relative Mean Deviation:            0.00%
Standard Deviation:                 0.70




                                                                                                                                                                       Page 1 of 1
                                            Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 18 of 51
       User: S049
 Plan Name: Congress-2023
  Plan Type: Congress

Population Summary

District          Population Deviation             % Devn.   [18+_Pop] [% 18+_Pop]          [%         [%            [%        [%          [%        [%        [%           [%
                                                                                     NH18+_Wht] NH18+_Blk]    H18+_Pop] NH18+_Asn] NH18+_Ind] NH18+_Hwn NH18+_Oth]    NH18+_2+
                                                                                                                                                       ]                 Races]
001                       765,137             1      0.00%      589,266     77.01%        60.41%     26.44%        6.78%     2.36%      0.26%      0.14%      0.37%        3.24%
002                       765,137             1      0.00%      587,555     76.79%        42.73%     47.62%        5.12%     1.41%      0.23%      0.09%      0.28%        2.53%
003                       765,136             0      0.00%      586,319     76.63%        66.83%       22%         5.33%     2.08%      0.22%      0.04%      0.38%        3.11%
004                       765,137             1      0.00%      582,946     76.19%        21.75%     47.86%         17%      9.92%      0.15%      0.03%      0.57%        2.71%
005                       765,137             1      0.00%      613,735     80.21%        33.65%     48.53%        8.59%     5.48%      0.17%      0.04%       0.5%        3.05%
006                       765,136             0      0.00%      593,690     77.59%         32.8%     49.04%       10.64%     3.69%      0.18%      0.04%      0.62%        2.97%
007                       765,137             1      0.00%      579,339     75.72%        66.77%      7.73%        9.05%    12.44%      0.15%      0.04%      0.52%        3.29%
008                       765,136             0      0.00%      585,857     76.57%        60.52%     28.84%         6.1%      1.6%       0.2%      0.05%      0.25%        2.43%
009                       765,135             -1     0.00%      582,752     76.16%        64.51%     11.43%       13.72%     6.82%       0.2%      0.04%      0.36%        2.93%
010                       765,137             1      0.00%      590,322     77.15%        65.28%     22.38%        6.45%     2.28%      0.18%      0.03%      0.47%        2.93%
011                       765,135             -1     0.00%      589,100     76.99%        69.37%      11.4%       10.44%     4.07%       0.2%      0.04%      0.72%        3.76%
012                       765,136             0      0.00%      588,119     76.86%        54.65%     35.06%        4.87%     1.95%      0.22%       0.1%       0.3%        2.86%
013                       765,136             0      0.00%      572,137     74.78%        27.83%      48.6%       12.66%     7.14%      0.19%      0.05%      0.63%        2.91%
014                       765,136             0      0.00%      579,137     75.69%        73.12%     11.47%         10%      1.54%      0.22%      0.04%      0.36%        3.25%

Total:          10,711,908
Ideal District:    765,136


Summary Statistics:
Population Range:                   765,135 to 765,137
Ratio Range:                        0.00
Absolute Range:                     -1 to 1
Absolute Overall Range:             2
Relative Range:                     0.00% to 0.00%
Relative Overall Range:             0.00%
Absolute Mean Deviation:            0.57
Relative Mean Deviation:            0.00%
Standard Deviation:                 0.70




                                                                                                                                                                        Page 1 of 1
                                            Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 19 of 51
       User: S049
 Plan Name: Congress-2023
  Plan Type: Congress

Population Summary
*Census designation “AP” denotes respondents who are Any or Part of a race category; respondents may fall into more than one category.

District          Population Deviation             % Devn.   [18+_Pop] [% 18+_Pop]                [%                [%                              [%           [%           [%           [%            [%
                                                                                          18+_AP_Wht]       18+_AP_Blk] [% H18+_Pop]       18+_AP_Ind]   18+_AP_Asn] 18+_AP_Hwn]   18+_AP_Oth] 18+_2+ Races]


001                       765,137             1      0.00%      589,266          77.01%          66.62%           28.17%           6.78%           2%         2.99%        0.29%         5.46%         5.16%
002                       765,137             1      0.00%      587,555          76.79%          46.83%           49.29%           5.12%         1.54%        1.89%        0.22%         4.39%         3.85%
003                       765,136             0      0.00%      586,319          76.63%          72.38%           23.32%           5.33%         2.09%        2.55%        0.12%          4.8%         4.97%
004                       765,137             1      0.00%      582,946          76.19%          29.33%           50.59%             17%          1.9%       10.64%        0.15%        15.14%         7.24%
005                       765,137             1      0.00%      613,735          80.21%          39.57%           51.06%           8.59%         1.53%        6.33%        0.13%         7.42%         5.57%
006                       765,136             0      0.00%      593,690          77.59%          39.56%           51.75%          10.64%         1.63%        4.31%        0.13%         9.52%         6.41%
007                       765,137             1      0.00%      579,339          75.72%          75.03%            8.93%           9.05%         1.79%       13.23%        0.13%         8.51%         7.23%
008                       765,136             0      0.00%      585,857          76.57%           65.6%           30.04%            6.1%         1.63%        2.03%        0.14%         4.83%             4%
009                       765,135             -1     0.00%      582,752          76.16%           73.8%           12.65%          13.72%         2.31%        7.37%        0.12%        11.68%         7.58%
010                       765,137             1      0.00%      590,322          77.15%          71.04%           23.69%           6.45%         1.93%        2.78%        0.12%         5.81%         5.08%
011                       765,135             -1     0.00%      589,100          76.99%          78.35%           12.83%          10.44%         2.36%        4.75%        0.12%         9.55%         7.58%
012                       765,136             0      0.00%      588,119          76.86%          59.51%           36.72%           4.87%         1.67%        2.55%        0.22%         4.01%         4.33%
013                       765,136             0      0.00%      572,137          74.78%          34.82%           51.45%          12.66%         1.85%        7.74%        0.16%        11.35%           6.9%
014                       765,136             0      0.00%      579,137          75.69%           80.9%           12.59%             10%         2.68%        1.95%        0.11%         8.43%         6.36%

Total:          10,711,908
Ideal District:    765,136


Summary Statistics:
Population Range:                   765,135 to 765,137
Ratio Range:                        0.00
Absolute Range:                     -1 to 1
Absolute Overall Range:             2
Relative Range:                     0.00% to 0.00%
Relative Overall Range:             0.00%
Absolute Mean Deviation:            0.57
Relative Mean Deviation:            0.00%
Standard Deviation:                 0.70




                                                                                                                                                                                                    Page 1 of 1
Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 20 of 51




                      EXHIBIT 2
Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 21 of 51
Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 22 of 51
Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 23 of 51
Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 24 of 51
Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 25 of 51
                                   Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 26 of 51
      User: S049
 Plan Name: Senate-2023
  Plan Type: Senate

Population Summary

District        Population Deviation     % Devn.    [18+_Pop] [% 18+_Pop] [% NH_Wht]   [% NH_Blk] [% Hispanic [% NH_Asn] [% NH_Ind] [% NH_Hwn] [% NH_Oth]   [% NH_2+
                                                                                                      Origin]                                                  Races]
001                   191,402     118      0.06%       145,428     75.98%      58.9%       23.66%      8.78%       2.64%      0.25%       0.3%      0.48%         6.56%
002                   190,408    -876      -0.46%      150,843     79.22%      36.4%       47.51%      8.36%        3.4%      0.21%      0.15%      0.46%         4.41%
003                   191,212     -72      -0.04%      148,915     77.88%     66.23%       20.92%      6.82%       1.22%      0.26%      0.09%      0.42%         5.19%
004                   191,098    -186      -0.10%      146,443     76.63%     64.48%        22.6%      6.49%       1.86%      0.23%      0.07%      0.38%         5.08%
005                   191,921     637      0.33%       139,394     72.63%     13.35%       26.84%     45.47%      10.98%      0.15%      0.04%      0.64%         3.47%
006                   191,052    -232      -0.12%      146,190     76.52%     70.38%       16.31%       6.8%       1.88%       0.2%      0.04%      0.42%         5.18%
007                   189,709   -1,575     -0.82%      147,425     77.71%     35.09%       20.08%     18.57%      21.67%      0.16%      0.04%      0.66%         4.79%
008                   192,396   1,112      0.58%       145,144     75.44%     57.39%       30.03%      7.28%       1.21%      0.28%      0.07%      0.35%          4.5%
009                   192,915   1,631      0.85%       142,054     73.64%     32.04%       28.46%     21.09%      13.98%      0.18%      0.03%      0.72%         4.73%
010                   192,983   1,699      0.89%       152,681     79.12%     23.46%       63.28%      5.42%       3.58%      0.17%      0.03%      0.62%         4.37%
011                   189,976   -1,308     -0.68%      144,597     76.11%     55.75%       31.13%      9.36%       0.69%      0.23%      0.03%      0.26%         3.33%
012                   190,819    -465      -0.24%      149,154     78.17%     33.83%       58.82%      3.89%       0.86%      0.16%      0.02%      0.21%         2.82%
013                   189,326   -1,958     -1.02%      144,141     76.13%     61.25%       27.08%       7.2%        1.2%      0.17%      0.02%      0.26%         3.69%
014                   192,533   1,249      0.65%       155,340     80.68%     54.63%       16.79%     13.97%       9.46%      0.13%      0.04%      0.79%          5.2%
015                   189,446   -1,838     -0.96%      144,506     76.28%     34.07%       52.31%      7.57%       1.31%      0.23%      0.27%      0.44%         4.97%
016                   191,829     545      0.28%       147,133      76.7%     64.19%       22.31%      5.95%       3.04%      0.17%      0.03%      0.51%         4.94%
017                   190,000   -1,284     -0.67%      142,855     75.19%     20.68%        61.8%      8.89%       4.19%      0.19%      0.05%      0.73%         4.61%
018                   191,825     541      0.28%       150,196      78.3%     58.41%       30.01%      5.18%       2.42%      0.22%      0.03%       0.4%         4.25%
019                   192,316   1,032      0.54%       146,131     75.98%     61.67%       24.76%      9.72%       0.58%      0.17%      0.06%      0.27%         3.64%
020                   192,588   1,304      0.68%       147,033     76.35%     59.74%       30.65%      4.21%       1.73%      0.15%      0.05%      0.31%         4.14%
021                   192,572   1,288      0.67%       145,120     75.36%     71.13%        6.52%     10.13%       7.38%      0.19%      0.04%      0.53%         5.41%
022                   193,163   1,879      0.98%       150,450     77.89%      31.1%       56.58%      5.63%       1.97%      0.24%      0.18%      0.44%         4.96%
023                   190,344    -940      -0.49%      144,113     75.71%     54.27%       34.66%      5.46%       1.16%      0.24%       0.1%      0.34%         4.99%
024                   192,674   1,390      0.73%       148,602     77.13%     67.45%       18.98%       5.4%       3.31%      0.18%      0.09%      0.43%         5.38%
025                   189,469   -1,815     -0.95%      147,337     77.76%     60.69%       30.55%      4.05%       0.93%      0.17%      0.04%      0.41%         4.06%
026                   189,945   -1,339     -0.70%      145,744     76.73%     33.26%       57.37%      4.85%       0.83%      0.21%      0.04%      0.31%         4.09%
027                   190,676    -608      -0.32%      139,196       73%         68%        4.31%     11.61%      11.41%      0.18%      0.04%      0.52%          5.4%
028                   191,223     -61      -0.03%      144,565      75.6%     25.25%       54.08%     14.25%       1.86%      0.19%      0.06%      0.68%          4.8%
029                   189,424   -1,860     -0.97%      145,674      76.9%     60.71%       26.22%      5.34%       3.02%      0.23%       0.1%      0.42%         5.16%
030                   191,617     333      0.17%       144,068     75.19%     63.02%       22.85%      7.93%       1.03%      0.25%      0.03%      0.56%         5.78%
031                   192,560   1,276      0.67%       142,251     73.87%      65.2%       19.83%      8.85%       1.07%      0.23%      0.06%      0.58%         5.67%
032                   192,448   1,164      0.61%       149,879     77.88%     63.13%       13.22%     12.09%       5.49%       0.2%      0.04%      0.91%         6.31%
033                   192,766   1,482      0.77%       147,506     76.52%     34.14%       33.16%     22.55%       4.42%      0.19%      0.06%      1.26%         5.52%
034                   190,668    -616      -0.32%      141,840     74.39%     11.11%        66.6%     14.82%        3.9%      0.23%      0.04%       0.6%         3.63%
035                   192,472   1,188      0.62%       151,934     78.94%      27.6%       53.15%      9.94%       4.82%      0.18%      0.04%      0.71%         4.51%
036                   192,282     998      0.52%       161,385     83.93%      33.1%       51.35%      7.56%       3.58%      0.17%      0.04%      0.53%         4.38%
037                   192,671   1,387      0.73%       147,779      76.7%     62.38%       18.04%      9.99%       3.85%      0.16%      0.03%      0.78%         6.21%
038                   192,309   1,025      0.54%       149,091     77.53%     28.22%       59.11%      7.04%       2.16%      0.14%      0.02%      0.51%         3.61%
039                   192,047     763      0.40%       157,956     82.25%     29.27%       55.12%       6.6%       4.85%      0.16%      0.04%      0.59%          4.1%



                                                                                                                                                              Page 1 of 2
                                            Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 27 of 51
Population Summary                                                                                                                                                     Senate-2023



District          Population Deviation            % Devn.      [18+_Pop] [% 18+_Pop] [% NH_Wht]   [% NH_Blk] [% Hispanic [% NH_Asn] [% NH_Ind] [% NH_Hwn] [% NH_Oth]   [% NH_2+
                                                                                                                 Origin]                                                  Races]
040                       190,544          -740       -0.39%      147,000     77.15%     43.69%       16.42%     24.81%      10.84%      0.12%      0.04%      0.65%        4.44%
041                       193,109      1,825          0.95%       147,908     76.59%     20.78%       55.88%     10.32%       8.79%      0.17%      0.02%      0.67%        4.38%
042                       191,057          -227       -0.12%      144,293     75.52%     56.31%       31.85%      5.94%       1.29%      0.16%      0.05%      0.59%        5.04%
043                       189,443     -1,841          -0.96%      142,037     74.98%     21.68%       61.87%     10.05%       1.83%      0.17%      0.08%      0.72%        4.81%
044                       193,156      1,872          0.98%       150,410     77.87%     31.12%       51.47%      7.93%       5.05%      0.13%      0.04%      0.57%        4.74%
045                       190,692          -592       -0.31%      140,706     73.79%     52.74%       17.12%     14.66%      10.69%      0.13%      0.03%      0.62%        5.44%
046                       190,312          -972       -0.51%      146,713     77.09%     67.24%       16.64%      7.99%       3.77%       0.2%      0.03%      0.58%        4.62%
047                       190,607          -677       -0.35%      146,599     76.91%     64.67%       16.96%     11.22%       2.66%      0.16%      0.04%      0.58%        4.82%
048                       190,123     -1,161          -0.61%      136,995     72.06%     49.01%        8.35%      7.58%      30.59%      0.13%      0.04%      0.55%        5.21%
049                       189,355     -1,929          -1.01%      144,123     76.11%     60.85%        7.13%     26.24%       2.15%      0.15%      0.04%      0.35%        4.05%
050                       189,320     -1,964          -1.03%      148,799      78.6%     78.61%        5.05%     11.08%       1.22%      0.22%      0.04%      0.26%        4.48%
051                       190,167     -1,117          -0.58%      155,571     81.81%     88.75%        0.84%      5.43%       0.59%      0.31%      0.02%       0.3%         4.6%
052                       190,799          -485       -0.25%      146,620     76.85%      71.8%       12.39%     10.11%       1.08%      0.21%      0.03%      0.35%        5.23%
053                       190,236     -1,048          -0.55%      148,201      77.9%     85.78%        4.46%      3.98%         1%       0.24%      0.06%       0.3%        5.37%
054                       192,443      1,159          0.61%       143,843     74.75%     65.71%        2.97%     26.66%       1.14%      0.19%      0.02%      0.25%        4.11%
055                       192,235          951        0.50%       145,915      75.9%     20.96%       59.87%      9.39%       5.35%      0.19%      0.03%      0.64%         4.7%
056                       191,226           -58       -0.03%      144,448     75.54%      73.9%        6.36%      8.63%       5.67%      0.11%      0.03%      0.75%        6.04%

Total:          10,711,908
Ideal District:    191,284


Summary Statistics:
Population Range:                   189,320 to 193,163
Ratio Range:                        0.02
Absolute Range:                     -1,964 to 1,879
Absolute Overall Range:             3,843
Relative Range:                     -1.03% to 0.98%
Relative Overall Range:             2.01%
Absolute Mean Deviation:            1,065.93
Relative Mean Deviation:            0.56%
Standard Deviation:                 1,203.73




                                                                                                                                                                        Page 2 of 2
                                   Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 28 of 51
      User: S049
 Plan Name: Senate-2023
  Plan Type: Senate

Population Summary

District        Population Deviation     % Devn.    [18+_Pop] [% 18+_Pop]          [%         [%            [%        [%          [%        [%        [%           [%
                                                                            NH18+_Wht] NH18+_Blk]    H18+_Pop] NH18+_Asn] NH18+_Ind] NH18+_Hwn NH18+_Oth]    NH18+_2+
                                                                                                                                              ]                 Races]
001                   191,402     118      0.06%       145,428     75.98%        61.99%      22.8%        7.55%     2.81%      0.28%      0.27%       0.4%          3.9%
002                   190,408    -876      -0.46%      150,843     79.22%        40.21%     44.81%        7.48%     3.77%      0.22%      0.15%      0.42%         2.95%
003                   191,212     -72      -0.04%      148,915     77.88%        68.88%     19.81%        6.17%     1.27%      0.27%      0.08%      0.34%         3.19%
004                   191,098    -186      -0.10%      146,443     76.63%        66.78%     21.98%        5.52%      1.9%      0.24%      0.07%      0.33%         3.17%
005                   191,921     637      0.33%       139,394     72.63%        15.69%     27.21%       41.67%    12.41%      0.14%      0.04%      0.55%         2.28%
006                   191,052    -232      -0.12%      146,190     76.52%        72.32%     16.08%        5.95%     1.91%      0.21%      0.04%      0.32%         3.17%
007                   189,709   -1,575     -0.82%      147,425     77.71%        37.84%     19.33%       16.56%    22.58%      0.16%      0.05%      0.55%         2.93%
008                   192,396   1,112      0.58%       145,144     75.44%         60.1%     29.02%        6.21%     1.27%      0.29%      0.08%      0.27%         2.75%
009                   192,915   1,631      0.85%       142,054     73.64%        35.81%     27.23%       18.77%    14.59%      0.18%      0.04%      0.59%          2.8%
010                   192,983   1,699      0.89%       152,681     79.12%        25.45%     62.36%        4.69%     3.71%      0.15%      0.03%      0.56%         3.05%
011                   189,976   -1,308     -0.68%      144,597     76.11%        58.97%     30.08%         7.6%     0.72%      0.26%      0.02%      0.22%         2.13%
012                   190,819    -465      -0.24%      149,154     78.17%        36.71%     56.63%        3.48%     0.92%      0.18%      0.02%      0.18%         1.88%
013                   189,326   -1,958     -1.02%      144,141     76.13%         64.1%     26.01%        6.01%     1.21%      0.17%      0.02%      0.21%         2.26%
014                   192,533   1,249      0.65%       155,340     80.68%         57.1%     16.83%       12.13%     9.43%      0.12%      0.05%      0.74%         3.61%
015                   189,446   -1,838     -0.96%      144,506     76.28%        36.52%     51.56%        6.59%     1.45%      0.23%      0.25%      0.36%         3.04%
016                   191,829     545      0.28%       147,133      76.7%        66.91%     21.49%        5.03%     2.92%      0.18%      0.03%      0.42%         3.01%
017                   190,000   -1,284     -0.67%      142,855     75.19%        23.55%     60.38%        7.89%     4.36%       0.2%      0.06%      0.67%         2.89%
018                   191,825     541      0.28%       150,196      78.3%        60.69%      29.2%        4.51%     2.46%      0.22%      0.03%      0.29%          2.6%
019                   192,316   1,032      0.54%       146,131     75.98%        63.99%     24.52%        8.38%     0.62%      0.18%      0.06%       0.2%         2.06%
020                   192,588   1,304      0.68%       147,033     76.35%        61.71%     30.17%        3.49%     1.76%      0.16%      0.05%      0.25%         2.41%
021                   192,572   1,288      0.67%       145,120     75.36%        73.87%      6.37%        8.77%     6.98%      0.18%      0.04%      0.48%         3.32%
022                   193,163   1,879      0.98%       150,450     77.89%        34.38%     53.94%        5.35%      2.3%      0.24%      0.18%      0.38%         3.24%
023                   190,344    -940      -0.49%      144,113     75.71%        56.89%     33.91%        4.52%     1.24%      0.25%      0.09%      0.27%         2.84%
024                   192,674   1,390      0.73%       148,602     77.13%        69.81%     18.69%         4.4%     3.27%       0.2%      0.07%      0.35%          3.2%
025                   189,469   -1,815     -0.95%      147,337     77.76%        62.87%     29.71%        3.43%     0.94%      0.18%      0.03%      0.37%         2.48%
026                   189,945   -1,339     -0.70%      145,744     76.73%         36.6%     55.18%        4.24%     0.92%      0.22%      0.03%      0.24%         2.56%
027                   190,676    -608      -0.32%      139,196       73%          71.5%      4.16%        10.2%    10.27%      0.15%      0.04%      0.45%         3.22%
028                   191,223     -61      -0.03%      144,565      75.6%         28.4%     53.43%       12.13%     2.06%       0.2%      0.06%       0.6%         3.11%
029                   189,424   -1,860     -0.97%      145,674      76.9%        63.22%     25.52%        4.45%       3%       0.23%      0.11%      0.33%         3.13%
030                   191,617     333      0.17%       144,068     75.19%        65.92%     22.11%        6.63%     1.06%      0.27%      0.03%      0.47%         3.51%
031                   192,560   1,276      0.67%       142,251     73.87%        68.26%     19.13%        7.42%     1.12%      0.22%      0.06%      0.46%         3.33%
032                   192,448   1,164      0.61%       149,879     77.88%        65.78%     13.13%       10.55%     5.42%       0.2%      0.04%      0.83%         4.05%
033                   192,766   1,482      0.77%       147,506     76.52%        38.05%      32.8%       19.51%     4.41%       0.2%      0.05%      1.23%         3.75%
034                   190,668    -616      -0.32%      141,840     74.39%        13.36%      66.5%       12.75%     4.26%      0.22%      0.04%      0.56%         2.31%
035                   192,472   1,188      0.62%       151,934     78.94%        30.35%     51.84%        8.72%     5.01%      0.18%      0.04%      0.69%         3.17%
036                   192,282     998      0.52%       161,385     83.93%        36.18%     48.68%        7.06%     4.01%      0.17%      0.04%      0.51%         3.34%
037                   192,671   1,387      0.73%       147,779      76.7%        65.37%     17.41%        8.69%     3.94%      0.17%      0.04%      0.67%         3.73%
038                   192,309   1,025      0.54%       149,091     77.53%        29.82%     58.41%        6.25%     2.34%      0.15%      0.02%       0.5%         2.51%



                                                                                                                                                               Page 1 of 2
                                            Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 29 of 51
Population Summary                                                                                                                                                      Senate-2023



District          Population Deviation            % Devn.      [18+_Pop] [% 18+_Pop]          [%         [%            [%        [%          [%        [%        [%           [%
                                                                                       NH18+_Wht] NH18+_Blk]    H18+_Pop] NH18+_Asn] NH18+_Ind] NH18+_Hwn NH18+_Oth]    NH18+_2+
                                                                                                                                                         ]                 Races]
039                       192,047          763        0.40%       157,956     82.25%         31.9%     52.78%         6.1%     5.43%      0.15%      0.04%      0.52%         3.07%
040                       190,544          -740       -0.39%      147,000     77.15%        46.34%     17.32%       21.62%    11.15%      0.11%      0.04%      0.59%         2.84%
041                       193,109      1,825          0.95%       147,908     76.59%        23.28%     55.63%        9.14%     8.14%      0.18%      0.02%      0.62%         2.99%
042                       191,057          -227       -0.12%      144,293     75.52%        59.13%     30.78%        4.96%     1.28%      0.17%      0.04%      0.51%         3.13%
043                       189,443     -1,841          -0.96%      142,037     74.98%        24.96%      60.5%        8.55%     1.94%      0.19%      0.07%      0.65%         3.13%
044                       193,156      1,872          0.98%       150,410     77.87%        32.93%     51.17%        6.83%     5.41%      0.14%      0.04%      0.49%         2.99%
045                       190,692          -592       -0.31%      140,706     73.79%        55.47%     16.86%       13.05%    10.89%      0.13%      0.03%       0.5%         3.07%
046                       190,312          -972       -0.51%      146,713     77.09%         69.9%     15.64%        6.99%     3.85%      0.22%      0.02%       0.5%         2.89%
047                       190,607          -677       -0.35%      146,599     76.91%        67.46%     16.34%        9.57%     2.79%      0.17%      0.04%       0.5%         3.13%
048                       190,123     -1,161          -0.61%      136,995     72.06%        52.25%      8.26%          7%     29.05%      0.11%      0.04%      0.47%         2.83%
049                       189,355     -1,929          -1.01%      144,123     76.11%        65.64%      7.12%        21.9%     2.22%      0.16%      0.04%      0.29%         2.63%
050                       189,320     -1,964          -1.03%      148,799      78.6%        81.54%      5.03%        8.78%     1.24%      0.24%      0.03%      0.24%         2.91%
051                       190,167     -1,117          -0.58%      155,571     81.81%        90.24%      0.84%        4.34%     0.61%      0.33%      0.02%      0.27%         3.34%
052                       190,799          -485       -0.25%      146,620     76.85%        74.74%     12.08%        8.24%     1.13%      0.22%      0.02%      0.29%         3.27%
053                       190,236     -1,048          -0.55%      148,201      77.9%        87.31%      4.49%        3.23%     0.99%      0.26%      0.06%      0.22%         3.44%
054                       192,443      1,159          0.61%       143,843     74.75%        69.98%      3.07%       22.64%     1.15%      0.22%      0.02%      0.21%         2.71%
055                       192,235          951        0.50%       145,915      75.9%        23.65%       59%         8.11%     5.37%      0.19%      0.03%      0.57%         3.08%
056                       191,226           -58       -0.03%      144,448     75.54%        76.17%      6.37%        7.66%     5.51%      0.12%      0.03%      0.63%         3.51%

Total:          10,711,908
Ideal District:    191,284


Summary Statistics:
Population Range:                   189,320 to 193,163
Ratio Range:                        0.02
Absolute Range:                     -1,964 to 1,879
Absolute Overall Range:             3,843
Relative Range:                     -1.03% to 0.98%
Relative Overall Range:             2.01%
Absolute Mean Deviation:            1,065.93
Relative Mean Deviation:            0.56%
Standard Deviation:                 1,203.73




                                                                                                                                                                          Page 2 of 2
Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 30 of 51




                       EXHIBIT 3
Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 31 of 51
Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 32 of 51
Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 33 of 51
Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 34 of 51
Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 35 of 51
                                  Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 36 of 51
      User: H123
 Plan Name: House-2023
  Plan Type: House

Population Summary

District        Population Deviation   % Devn.    [18+_Pop] [% 18+_Pop] [% NH_Wht]   [% NH_Blk] [% Hispanic [% NH_Asn] [% NH_Ind] [% NH_Hwn] [% NH_Oth]   [% NH_2+
                                                                                                    Origin]                                                  Races]
001                  59,666      155     0.26%        46,801     78.44%     87.88%         3.9%      2.59%       0.53%      0.31%      0.04%       0.3%         5.67%
002                  59,773      262     0.44%        46,159     77.22%     83.24%        2.56%      9.09%        1.1%      0.18%      0.02%      0.26%          4.6%
003                  60,199      688     1.16%        46,716      77.6%      86.9%        2.82%       3.6%       1.63%      0.27%      0.14%      0.18%         5.75%
004                  59,070     -441     -0.74%       42,798     72.45%     42.01%        4.17%     50.07%       1.23%      0.17%      0.02%      0.28%         2.82%
005                  58,837     -674     -1.13%       44,623     75.84%     75.46%        3.76%     15.29%       1.24%       0.2%      0.02%      0.22%         5.03%
006                  59,712      201     0.34%        45,152     75.62%     80.15%        1.01%     14.51%       0.51%       0.2%      0.01%       0.2%          4.5%
007                  59,081     -430     -0.72%       48,771     82.55%     87.97%        0.37%      7.43%       0.45%      0.26%      0.01%      0.24%         3.96%
008                  59,244     -267     -0.45%       49,612     83.74%      90.8%        1.13%      3.21%       0.54%       0.3%      0.01%      0.34%         4.39%
009                  59,474      -37     -0.06%       48,273     81.17%     87.78%        1.01%      5.49%       0.79%      0.37%      0.06%      0.36%         5.11%
010                  59,519        8     0.01%        47,164     79.24%     78.61%        2.97%     13.11%       1.51%      0.17%      0.06%      0.24%          4.2%
011                  58,792     -719     -1.21%       45,396     77.21%     87.43%        1.55%      5.33%       1.15%      0.22%      0.02%       0.3%         5.18%
012                  59,300     -211     -0.35%       46,487     78.39%     78.45%        8.61%      7.68%       1.01%      0.16%      0.01%      0.42%         4.69%
013                  59,150     -361     -0.61%       45,176     76.38%     62.24%       18.71%     13.52%       1.29%      0.22%      0.03%      0.33%         4.77%
014                  59,135     -376     -0.63%       45,511     76.96%     81.38%        5.86%      7.04%       0.77%      0.21%      0.03%      0.34%         5.66%
015                  59,213     -298     -0.50%       45,791     77.33%     68.38%       13.61%     11.74%        1.3%      0.25%      0.04%      0.49%         5.42%
016                  59,402     -109     -0.18%       44,009     74.09%      72.9%       11.15%     10.95%       0.76%      0.22%      0.05%      0.43%         4.78%
017                  59,120     -391     -0.66%       42,761     72.33%     63.28%       22.06%       7.9%       1.33%      0.23%      0.07%      0.64%         6.21%
018                  59,335     -176     -0.30%       45,159     76.11%     84.78%        7.11%      2.93%       0.59%      0.23%      0.04%      0.35%         5.22%
019                  59,752      241     0.40%        44,754      74.9%     59.73%       25.38%      7.91%       1.57%      0.22%      0.08%      0.67%         5.93%
020                  60,107      596     1.00%        45,725     76.07%     73.93%        8.13%      10.6%       1.97%      0.16%      0.04%      0.63%         5.97%
021                  59,529       18     0.03%        44,931     75.48%     80.04%        4.29%      8.54%       1.84%      0.19%      0.04%      0.66%         5.83%
022                  59,460      -51     -0.09%       45,815     77.05%     62.53%       13.94%     13.26%       3.86%       0.2%      0.03%      0.81%         6.97%
023                  59,048     -463     -0.78%       44,254     74.95%     71.47%        5.64%     17.19%       1.06%      0.22%      0.04%      0.36%         5.35%
024                  59,011     -500     -0.84%       41,814     70.86%     60.13%          6%      11.36%      17.65%      0.21%      0.04%      0.62%         5.62%
025                  59,414      -97     -0.16%       42,520     71.57%     51.99%          5%       5.42%      33.55%      0.15%      0.03%      0.51%          4.7%
026                  59,248     -263     -0.44%       44,081      74.4%     63.48%        3.29%     12.07%       16.8%      0.18%      0.04%       0.5%          4.9%
027                  58,795     -716     -1.20%       46,004     78.24%     79.69%        3.22%     11.82%       0.82%      0.19%      0.04%       0.3%            5%
028                  58,972     -539     -0.91%       44,444     75.36%      76.5%        3.39%     13.59%       2.06%      0.16%      0.03%       0.4%         5.13%
029                  59,200     -311     -0.52%       43,131     72.86%     36.05%       12.13%     46.28%       2.72%      0.12%      0.06%      0.41%         3.06%
030                  59,266     -245     -0.41%       45,414     76.63%     67.03%        7.37%     18.78%       3.04%      0.15%      0.03%      0.34%         4.26%
031                  59,901      390     0.66%        43,120     71.99%     65.57%        6.64%     21.63%       2.27%      0.19%      0.02%      0.37%         4.59%
032                  59,145     -366     -0.62%       45,942     77.68%      80.8%        7.24%      6.03%       1.26%      0.29%      0.05%      0.25%         5.26%
033                  59,187     -324     -0.54%       46,498     78.56%     79.94%       10.97%      4.08%        1.2%      0.15%      0.01%      0.36%         4.19%
034                  58,947     -564     -0.95%       44,933     76.23%     65.67%       16.18%      8.47%       4.35%      0.11%      0.03%       0.7%         5.89%
035                  59,689      178     0.30%        48,436     81.15%     46.08%       29.39%     12.14%       5.79%       0.2%      0.04%      1.11%         6.46%
036                  59,898      387     0.65%        45,316     75.66%     66.72%       14.67%      9.61%       3.49%      0.17%      0.04%      0.69%         6.09%
037                  58,927     -584     -0.98%       46,057     78.16%     44.33%       22.71%      22.5%       5.45%      0.21%      0.06%      0.87%         4.96%
038                  59,317     -194     -0.33%       44,839     75.59%     25.93%       52.72%     14.72%       1.77%      0.22%      0.07%       0.7%         5.13%
039                  59,381     -130     -0.22%       44,436     74.83%      20.6%       52.08%     21.79%        1.5%      0.14%      0.03%      0.65%         4.28%



                                                                                                                                                            Page 1 of 5
                             Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 37 of 51
Population Summary                                                                                                                                   House-2023



District   Population Deviation   % Devn.    [18+_Pop] [% 18+_Pop] [% NH_Wht]   [% NH_Blk] [% Hispanic [% NH_Asn] [% NH_Ind] [% NH_Hwn] [% NH_Oth]   [% NH_2+
                                                                                               Origin]                                                  Races]
040             60,184      673     1.13%        45,134     74.99%     60.16%       25.13%        8%        1.12%      0.25%      0.04%       0.7%        6.16%
041             60,122      611     1.03%        45,271      75.3%     23.42%       36.44%     33.22%       2.81%      0.18%      0.05%      0.86%        4.01%
042             59,017     -494     -0.83%       46,520     78.82%     39.33%       28.51%     21.47%       5.43%      0.21%      0.03%      0.79%        5.35%
043             59,626      115     0.19%        48,172     80.79%     41.11%        28.2%     13.47%       7.96%      0.21%      0.06%      2.71%        7.76%
044             60,002      491     0.83%        46,773     77.95%     64.71%       10.98%     11.99%       5.71%      0.18%      0.02%      1.17%        6.72%
045             59,738      227     0.38%        44,023     73.69%     72.29%        4.14%       5.5%      12.94%      0.07%      0.02%      0.67%        5.94%
046             59,108     -403     -0.68%       44,132     74.66%     72.43%        6.76%      8.24%       6.93%      0.12%      0.04%      0.82%        6.24%
047             59,126     -385     -0.65%       43,932      74.3%     61.71%        9.44%      7.83%      15.91%       0.2%      0.03%       0.7%        5.62%
048             59,003     -508     -0.85%       44,779     75.89%     59.05%       10.16%      14.1%      11.77%      0.08%      0.05%      0.64%        5.49%
049             59,153     -358     -0.60%       45,263     76.52%     68.94%         7.2%      7.56%      11.41%       0.1%      0.02%      0.68%        5.34%
050             59,523       12     0.02%        43,940     73.82%     41.55%       11.04%      7.06%      35.46%      0.09%      0.04%      0.66%        5.56%
051             58,952     -559     -0.94%       47,262     80.17%     51.02%       21.93%     15.47%       5.83%      0.17%      0.04%      1.03%        5.63%
052             59,811      300     0.50%        48,525     81.13%     53.81%       13.71%      7.98%      19.72%      0.14%      0.06%      0.72%        4.76%
053             59,953      442     0.74%        46,944      78.3%      70.3%       12.31%       8.2%       4.46%       0.1%      0.02%      0.63%        5.08%
054             60,083      572     0.96%        50,338     83.78%     61.03%       12.98%     15.17%       6.51%      0.14%      0.03%      0.57%        4.25%
055             59,115     -396     -0.67%       48,584     82.19%     33.22%       55.39%      5.01%       2.68%      0.18%      0.03%      0.41%        3.76%
056             59,783      272     0.46%        53,358     89.25%     31.46%       49.94%      5.62%       8.51%      0.17%      0.08%      0.45%        4.21%
057             58,961     -550     -0.92%       51,824      87.9%     62.15%       15.54%      8.66%       8.42%       0.1%      0.03%      0.62%         5.1%
058             58,788     -723     -1.21%       50,073     85.18%     29.83%       57.64%      5.57%       2.93%      0.16%      0.01%      0.53%        3.91%
059             59,434      -77     -0.13%       49,179     82.75%     19.37%       69.55%      4.45%       2.52%      0.16%      0.02%      0.56%        4.06%
060             59,560       49     0.08%        46,156     77.49%     35.19%       51.55%      6.53%       2.82%      0.15%      0.06%      0.44%        4.19%
061             59,161     -350     -0.59%       47,510     80.31%     30.21%       53.86%      5.03%       6.36%      0.17%      0.02%      0.66%        4.58%
062             59,450      -61     -0.10%       46,426     78.09%     17.17%       70.09%      7.61%       1.13%      0.21%      0.04%      0.53%        4.12%
063             59,381     -130     -0.22%       45,043     75.85%     16.74%         68%      10.42%       1.32%      0.21%      0.03%      0.51%        3.66%
064             59,608       97     0.16%        44,900     75.33%     33.02%       50.97%      9.21%       1.79%      0.18%      0.04%      0.76%        5.35%
065             59,129     -382     -0.64%       44,495     75.25%     23.03%         69%       3.54%       0.74%      0.14%      0.03%      0.51%        3.99%
066             60,306      795     1.34%        45,228       75%      27.26%       52.53%     14.01%       1.33%      0.26%      0.11%      0.68%        5.09%
067             59,135     -376     -0.63%       44,299     74.91%     29.09%       57.14%      8.71%       1.29%      0.18%      0.03%       0.5%        4.08%
068             59,477      -34     -0.06%       44,835     75.38%     31.15%       54.67%       7.3%       2.79%      0.16%      0.04%       0.7%        4.23%
069             58,682     -829     -1.39%       45,548     77.62%      24.1%       61.87%      6.47%       3.04%      0.17%      0.04%      0.89%         4.4%
070             59,121     -390     -0.66%       45,249     76.54%     56.51%       27.61%      9.08%       2.17%       0.2%      0.05%      0.47%         5.1%
071             59,538       27     0.05%        44,582     74.88%     67.15%       18.89%      7.44%       0.96%      0.25%      0.02%      0.51%        6.39%
072             59,660      149     0.25%        46,229     77.49%     67.26%       19.34%      8.16%       0.96%       0.2%      0.02%       0.3%        4.83%
073             60,036      525     0.88%        45,736     76.18%     69.92%       11.27%      7.96%       5.88%      0.15%      0.03%      0.52%         5.6%
074             59,120     -391     -0.66%       44,044      74.5%     20.91%       64.28%      8.85%       1.88%      0.19%      0.03%      0.62%        4.36%
075             59,743      232     0.39%        43,850      73.4%      9.24%       71.27%     12.97%       2.66%      0.19%      0.06%      0.71%        3.95%
076             59,759      248     0.42%        44,371     74.25%      8.61%       64.24%     15.61%       8.11%      0.19%      0.04%      0.57%        3.55%
077             59,242     -269     -0.45%       44,207     74.62%      6.22%       72.49%     14.22%       4.03%      0.22%      0.06%       0.5%        3.04%
078             59,734      223     0.37%        45,718     76.54%      21.3%       57.21%     10.48%       6.57%      0.21%      0.05%      0.71%        4.55%
079             59,500      -11     -0.02%       43,223     72.64%      5.69%       68.19%     18.11%       4.87%      0.21%      0.01%      0.57%        3.22%
080             59,461      -50     -0.08%       44,784     75.32%     45.02%       11.65%     26.17%      13.02%      0.08%      0.04%      0.63%         4.5%
081             58,919     -592     -0.99%       43,235     73.38%     63.13%        24.4%      5.77%       1.71%      0.18%      0.03%      0.56%        5.76%
082             59,789      278     0.47%        46,252     77.36%     62.38%       25.52%      5.76%       1.87%      0.22%      0.03%      0.45%        4.88%
083             59,416      -95     -0.16%       46,581      78.4%     44.13%       12.06%     33.75%       6.29%       0.1%      0.02%      0.61%        3.87%


                                                                                                                                                      Page 2 of 5
                             Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 38 of 51
Population Summary                                                                                                                                   House-2023



District   Population Deviation   % Devn.    [18+_Pop] [% 18+_Pop] [% NH_Wht]   [% NH_Blk] [% Hispanic [% NH_Asn] [% NH_Ind] [% NH_Hwn] [% NH_Oth]   [% NH_2+
                                                                                               Origin]                                                  Races]
084             58,801     -710     -1.19%       46,355     78.83%     33.58%       53.22%      4.59%       3.76%      0.15%      0.03%      0.58%        5.19%
085             59,591       80     0.13%        46,239     77.59%     25.18%       49.43%      6.64%      13.95%      0.27%      0.02%      0.65%        4.98%
086             59,153     -358     -0.60%       45,107     76.25%     26.13%       53.45%       5.3%      10.63%      0.12%      0.03%      0.77%        4.69%
087             59,684      173     0.29%        46,046     77.15%     24.23%       51.81%     11.19%        8.4%      0.19%      0.02%      0.64%        4.57%
088             59,689      178     0.30%        46,073     77.19%     15.98%       60.71%     11.46%       7.49%      0.23%      0.06%      0.68%        4.39%
089             60,231      720     1.21%        48,361     80.29%     33.53%       53.85%      3.97%       3.96%      0.15%      0.04%       0.5%        4.98%
090             59,856      345     0.58%        48,477     80.99%     38.35%       50.05%      5.02%       2.07%      0.12%      0.03%      0.56%         4.7%
091             59,976      465     0.78%        46,174     76.99%     17.46%       73.28%      4.25%       0.97%      0.14%      0.02%      0.64%        4.21%
092             60,150      639     1.07%        45,550     75.73%     19.45%       66.81%      7.88%       1.67%       0.2%       0.1%      0.58%        4.38%
093             60,290      779     1.31%        45,092     74.79%     18.77%       62.38%     12.66%       1.92%      0.14%      0.02%      0.72%        4.53%
094             60,192      681     1.14%        45,155     75.02%     22.32%       54.63%      8.93%       9.59%      0.17%      0.02%      0.66%        4.91%
095             58,992     -519     -0.87%       43,421      73.6%     16.37%       63.95%     11.41%       3.58%      0.18%      0.05%      0.73%        5.08%
096             59,515        4     0.01%        44,671     75.06%     17.47%       20.71%     40.49%      17.64%      0.15%      0.06%      0.72%        3.68%
097             59,072     -439     -0.74%       46,339     78.44%     33.19%       25.12%     21.86%        15%       0.19%      0.05%      0.68%           5%
098             59,998      487     0.82%        42,734     71.23%      9.69%       19.56%     57.42%      10.69%      0.13%      0.05%       0.6%        2.61%
099             59,850      339     0.57%        45,004     75.19%     39.77%       13.49%      9.52%      32.49%      0.15%      0.04%      0.56%        5.29%
100             60,030      519     0.87%        42,669     71.08%     55.88%        9.01%     10.85%      19.49%      0.18%      0.05%      0.53%        5.64%
101             59,240     -271     -0.46%       47,353     79.93%     46.13%       17.92%       23%         8.5%      0.16%      0.02%      0.66%        4.53%
102             60,038      527     0.89%        44,409     73.97%      26.6%       38.73%     23.27%       7.01%      0.19%      0.03%       0.7%         4.7%
103             60,197      686     1.15%        44,399     73.76%     49.51%       15.16%     19.06%      11.68%      0.13%      0.04%      0.61%        5.16%
104             59,362     -149     -0.25%       43,306     72.95%     60.44%       15.61%     12.64%       6.32%      0.16%      0.04%       0.6%        5.75%
105             59,395     -116     -0.19%       43,980     74.05%      43.4%       22.33%     17.08%      12.47%      0.11%      0.01%      0.66%        5.33%
106             59,981      470     0.79%        44,518     74.22%     26.66%       25.45%     27.75%      16.44%      0.15%      0.04%      0.59%        3.94%
107             60,033      522     0.88%        46,162     76.89%     30.41%       23.26%     23.86%      17.95%      0.18%      0.05%      0.67%         4.7%
108             58,942     -569     -0.96%       44,123     74.86%     41.48%       16.47%     20.49%      17.04%      0.18%      0.02%      0.64%        4.91%
109             59,697      186     0.31%        44,206     74.05%     12.04%        29.5%     42.46%      12.62%      0.16%      0.03%      0.66%        3.41%
110             60,278      767     1.29%        43,324     71.87%     34.09%       42.68%     13.04%       4.85%      0.18%      0.05%      0.86%         5.9%
111             59,900      389     0.65%        43,967      73.4%     59.45%        23.1%     10.26%       2.49%      0.18%      0.04%      0.66%         5.2%
112             60,167      656     1.10%        45,446     75.53%     64.07%       24.15%      5.73%        1.5%      0.19%      0.06%      0.63%        4.85%
113             59,413      -98     -0.16%       44,248     74.48%     27.04%       59.61%      7.42%       1.02%      0.18%      0.14%      0.74%        5.18%
114             59,401     -110     -0.18%       45,971     77.39%     67.82%       23.48%      4.08%       0.82%      0.15%      0.03%      0.43%        4.13%
115             59,381     -130     -0.22%       46,468     78.25%     16.54%       72.48%      4.75%       1.84%      0.14%      0.02%      0.81%        4.37%
116             59,777      266     0.45%        45,550      76.2%     15.62%       71.99%      5.74%       2.74%      0.19%      0.06%      0.59%        4.04%
117             59,533       22     0.04%        43,634     73.29%     23.76%       61.03%      8.42%         2%       0.15%      0.08%      0.73%        5.24%
118             59,901      390     0.66%        46,298     77.29%     62.66%       28.32%      4.06%        0.5%      0.16%      0.05%      0.57%        4.76%
119             58,947     -564     -0.95%       44,005     74.65%     66.88%       12.47%     12.17%       3.83%      0.16%      0.02%      0.58%        5.21%
120             58,982     -529     -0.89%       46,767     79.29%     69.85%       13.48%      8.42%       4.05%      0.15%      0.05%       0.5%        4.41%
121             59,127     -384     -0.65%       46,598     78.81%     75.06%        8.66%      6.27%       5.64%      0.11%        0%       0.53%        4.74%
122             59,632      121     0.20%        48,840      81.9%     49.13%       30.63%     13.78%       2.13%      0.28%      0.06%      0.86%        3.82%
123             59,282     -229     -0.38%       46,572     78.56%     65.88%       23.82%      5.33%       1.14%      0.17%      0.02%      0.26%        4.31%
124             59,221     -290     -0.49%       47,638     80.44%     61.53%       26.06%      7.57%       1.14%      0.19%      0.02%      0.37%        3.88%
125             60,137      626     1.05%        43,812     72.85%        60%       21.67%      8.93%        2.4%      0.29%      0.19%      0.52%        8.22%
126             59,260     -251     -0.42%       45,497     76.78%     37.81%       53.88%      3.63%       0.76%      0.27%      0.15%      0.37%        4.08%
127             58,678     -833     -1.40%       45,889      78.2%     65.92%       17.12%      5.58%       5.63%      0.18%      0.18%      0.51%        6.23%


                                                                                                                                                      Page 3 of 5
                             Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 39 of 51
Population Summary                                                                                                                                   House-2023



District   Population Deviation   % Devn.    [18+_Pop] [% 18+_Pop] [% NH_Wht]   [% NH_Blk] [% Hispanic [% NH_Asn] [% NH_Ind] [% NH_Hwn] [% NH_Oth]   [% NH_2+
                                                                                               Origin]                                                  Races]
128             58,864     -647     -1.09%       46,488     78.98%     44.14%         51%       1.91%      0.36%       0.19%      0.03%      0.17%        2.81%
129             58,829     -682     -1.15%       46,873     79.68%     33.83%       54.95%      4.74%       2.1%       0.21%      0.14%      0.43%        4.52%
130             59,203     -308     -0.52%       44,019     74.35%     30.19%       60.27%      4.33%      0.79%       0.24%      0.16%      0.42%        4.84%
131             58,890     -621     -1.04%       42,968     72.96%     65.57%       15.99%      7.07%      4.92%       0.19%      0.14%      0.61%        7.55%
132             59,142     -369     -0.62%       46,752     79.05%      33.1%       51.88%      7.91%      2.38%       0.26%      0.19%      0.37%        4.95%
133             58,893     -618     -1.04%       46,821      79.5%     60.01%       31.14%      5.61%      0.57%       0.17%      0.03%       0.2%        2.86%
134             59,575       64     0.11%        47,005      78.9%     65.16%       27.07%      3.11%       0.6%       0.25%      0.02%      0.38%        4.33%
135             59,870      359     0.60%        45,706     76.34%     68.94%       23.22%      3.27%      0.66%       0.17%      0.02%      0.35%         4.4%
136             59,298     -213     -0.36%       45,367     76.51%     62.16%         28%        4.4%      1.54%       0.24%      0.03%      0.42%        4.19%
137             59,551       40     0.07%        45,358     76.17%      38.1%       51.27%      5.17%      1.66%       0.12%      0.14%      0.37%        4.16%
138             58,912     -599     -1.01%       45,684     77.55%     70.29%       18.77%       4.1%      2.39%       0.25%      0.06%      0.36%        4.86%
139             59,010     -501     -0.84%       45,522     77.14%     63.55%       19.18%      7.24%      4.03%       0.25%      0.21%      0.59%        6.43%
140             59,294     -217     -0.36%       44,411      74.9%     28.76%        55.8%      9.04%      1.02%       0.27%      0.24%      0.53%         5.8%
141             59,019     -492     -0.83%       44,677      75.7%     29.41%       54.88%      7.93%      2.53%       0.24%       0.3%      0.45%        5.62%
142             59,312     -199     -0.33%       45,355     76.47%     38.73%       52.19%      3.47%      1.89%       0.18%      0.03%      0.38%        4.09%
143             59,432      -79     -0.13%       45,411     76.41%        36%       50.52%      8.04%      1.07%       0.23%      0.04%      0.35%        4.91%
144             59,307     -204     -0.34%       46,029     77.61%     70.22%       20.48%      3.96%      1.77%       0.18%      0.02%      0.28%           4%
145             58,805     -706     -1.19%       45,090     76.68%     39.37%       51.02%      4.76%      1.78%       0.15%      0.01%      0.44%        3.23%
146             60,203      692     1.16%        44,589     74.06%     59.32%       26.73%      5.66%      2.67%       0.17%      0.09%      0.45%        6.63%
147             60,375      864     1.45%        46,125      76.4%     53.61%       28.37%      7.91%       4.7%       0.23%      0.07%      0.52%        6.01%
148             59,984      473     0.79%        46,614     77.71%     58.49%       33.89%      3.66%       0.9%       0.12%      0.04%      0.28%        3.39%
149             59,715      204     0.34%        47,261     79.14%     42.45%       50.98%       2.4%      1.06%       0.15%      0.05%      0.39%        3.19%
150             59,276     -235     -0.39%       47,050     79.37%     36.16%       53.23%      7.23%      1.17%       0.17%      0.03%      0.17%        2.34%
151             60,059      548     0.92%        46,973     78.21%     45.21%       42.21%      7.51%      1.29%       0.18%      0.23%      0.25%        3.98%
152             60,134      623     1.05%        46,026     76.54%     66.12%       25.86%      2.84%       1.6%       0.21%      0.03%       0.3%        3.96%
153             59,299     -212     -0.36%       45,692     77.05%     24.38%       69.08%      2.93%      0.89%       0.13%      0.02%      0.24%        3.02%
154             59,994      483     0.81%        47,273      78.8%     39.54%       55.53%       2.1%      0.38%       0.16%      0.01%       0.2%        2.65%
155             58,759     -752     -1.26%       45,208     76.94%     57.32%       36.14%      2.62%      0.91%       0.18%      0.05%      0.26%        3.27%
156             59,444      -67     -0.11%       45,867     77.16%     58.49%       29.79%      8.27%       0.6%       0.17%      0.01%      0.25%        3.14%
157             59,957      446     0.75%        45,311     75.57%     61.81%       23.59%     11.19%      0.54%       0.16%      0.04%      0.21%        3.26%
158             59,440      -71     -0.12%       45,549     76.63%     59.27%        31.5%       5.6%      0.75%       0.18%      0.03%      0.25%        3.16%
159             59,895      384     0.65%        44,871     74.92%     67.46%       23.88%      3.65%      0.54%       0.28%      0.03%      0.34%         5.1%
160             59,935      424     0.71%        48,057     80.18%     66.84%       21.68%       5.5%      1.62%       0.24%       0.1%      0.28%        4.69%
161             60,097      586     0.98%        44,371     73.83%     57.53%       25.83%      7.89%      3.03%       0.24%      0.09%       0.5%        6.63%
162             60,308      797     1.34%        46,733     77.49%      36.7%       43.34%     10.78%        4%         0.2%      0.24%      0.54%        5.41%
163             60,123      612     1.03%        48,461      80.6%     38.48%       46.14%      8.45%      3.12%       0.19%      0.13%      0.39%        3.84%
164             60,101      590     0.99%        45,851     76.29%      57.7%       22.03%      9.95%      4.21%       0.24%      0.12%      0.68%        6.66%
165             59,978      467     0.78%        48,247     80.44%      35.1%       52.41%      5.53%      3.19%       0.22%      0.14%      0.38%        3.76%
166             60,242      731     1.23%        47,580     78.98%     82.79%        4.94%      5.19%      2.65%       0.16%      0.05%       0.4%        4.84%
167             59,493      -18     -0.03%       44,140     74.19%     62.89%       20.99%      8.81%      1.42%       0.35%      0.23%       0.5%        6.46%
168             60,147      636     1.07%        44,867      74.6%     36.24%        43.3%     11.22%      1.98%       0.31%      0.67%      0.48%        7.77%
169             59,138     -373     -0.63%       45,267     76.54%     58.36%       28.84%      9.03%      0.79%       0.15%      0.02%       0.2%         3.4%
170             60,116      605     1.02%        45,316     75.38%     60.65%       24.39%     10.43%      1.19%       0.13%      0.02%      0.28%        3.86%
171             59,237     -274     -0.46%       45,969      77.6%     51.23%       39.79%      5.73%      0.54%       0.21%      0.03%      0.21%        2.92%


                                                                                                                                                      Page 4 of 5
                                            Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 40 of 51
Population Summary                                                                                                                                                    House-2023



District          Population Deviation            % Devn.     [18+_Pop] [% 18+_Pop] [% NH_Wht]   [% NH_Blk] [% Hispanic [% NH_Asn] [% NH_Ind] [% NH_Hwn] [% NH_Oth]   [% NH_2+
                                                                                                                Origin]                                                  Races]
172                        59,961          450        0.76%       44,756     74.64%     57.24%       23.26%       16%       0.77%       0.21%      0.03%      0.23%        3.05%
173                        59,743          232        0.39%       45,292     75.81%     52.67%       36.22%      6.95%      0.79%       0.33%      0.02%       0.3%        3.59%
174                        59,852          341        0.57%       45,760     76.46%     70.83%       16.91%      7.88%      0.47%       0.35%      0.04%      0.22%        4.31%
175                        59,993          482        0.81%       44,704     74.52%     64.08%       23.75%       6.1%      1.78%       0.26%      0.07%      0.34%        4.88%
176                        59,470           -41     -0.07%        44,991     75.65%     63.56%       21.74%      9.95%      0.91%       0.24%      0.08%      0.29%        4.27%
177                        59,992          481        0.81%       46,014      76.7%     33.22%        54.7%      6.69%      1.26%       0.21%      0.07%      0.42%        4.46%
178                        59,877          366        0.62%       45,638     76.22%     75.62%        14.4%      6.22%      0.52%       0.18%      0.01%      0.29%        3.62%
179                        59,356          -155     -0.26%        47,156     79.45%     59.03%       28.39%      7.73%      1.06%       0.17%      0.13%      0.39%        3.92%
180                        59,412           -99     -0.17%        45,362     76.35%     68.71%       16.96%      6.47%      1.56%       0.32%      0.11%      0.57%        6.94%

Total:          10,711,908
Ideal District:     59,511


Summary Statistics:
Population Range:                   58,678 to 60,375
Ratio Range:                        0.03
Absolute Range:                     -833 to 864
Absolute Overall Range:             1,697
Relative Range:                     -1.40% to 1.45%
Relative Overall Range:             2.85%
Absolute Mean Deviation:            372.39
Relative Mean Deviation:            0.63%
Standard Deviation:                 433.63




                                                                                                                                                                       Page 5 of 5
                                  Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 41 of 51
      User: H123
 Plan Name: House-2023
  Plan Type: House

Population Summary

District        Population Deviation   % Devn.    [18+_Pop] [% 18+_Pop]          [%         [%            [%        [%          [%        [%        [%           [%
                                                                          NH18+_Wht] NH18+_Blk]    H18+_Pop] NH18+_Asn] NH18+_Ind] NH18+_Hwn NH18+_Oth]    NH18+_2+
                                                                                                                                            ]                 Races]
001                  59,666      155     0.26%        46,801     78.44%        89.43%      3.65%        2.11%     0.57%      0.32%      0.05%      0.21%         3.65%
002                  59,773      262     0.44%        46,159     77.22%        85.33%      2.64%        7.57%     1.07%       0.2%      0.02%       0.2%         2.97%
003                  60,199      688     1.16%        46,716      77.6%        88.46%      2.71%        2.96%     1.56%      0.28%      0.14%      0.14%         3.77%
004                  59,070     -441     -0.74%       42,798     72.45%        47.78%      4.53%       44.13%     1.28%      0.19%      0.02%      0.21%         1.86%
005                  58,837     -674     -1.13%       44,623     75.84%        78.55%      3.81%       12.62%     1.26%      0.22%      0.03%      0.19%         3.31%
006                  59,712      201     0.34%        45,152     75.62%          83%         1%        11.96%     0.51%      0.25%      0.02%      0.17%         3.09%
007                  59,081     -430     -0.72%       48,771     82.55%        90.15%      0.34%        5.53%     0.46%      0.27%      0.01%      0.21%         3.02%
008                  59,244     -267     -0.45%       49,612     83.74%        91.87%      1.12%        2.74%     0.54%       0.3%        0%       0.29%         3.13%
009                  59,474      -37     -0.06%       48,273     81.17%        88.93%      1.06%        4.74%     0.83%      0.41%      0.06%      0.33%         3.64%
010                  59,519        8     0.01%        47,164     79.24%        81.82%      3.19%       10.04%     1.58%      0.18%      0.03%      0.21%         2.95%
011                  58,792     -719     -1.21%       45,396     77.21%        89.31%      1.43%        4.23%     1.06%      0.23%      0.03%      0.27%         3.44%
012                  59,300     -211     -0.35%       46,487     78.39%        80.42%      8.94%        6.15%     1.01%      0.18%        0%       0.33%         2.97%
013                  59,150     -361     -0.61%       45,176     76.38%         66.3%     18.03%       10.84%     1.36%      0.22%      0.02%      0.26%         2.97%
014                  59,135     -376     -0.63%       45,511     76.96%        83.02%      6.06%        5.88%      0.8%      0.25%      0.02%      0.31%         3.65%
015                  59,213     -298     -0.50%       45,791     77.33%         71.9%     13.11%        9.67%     1.36%      0.27%      0.03%      0.36%          3.3%
016                  59,402     -109     -0.18%       44,009     74.09%        76.42%     10.83%        8.61%     0.79%      0.21%      0.05%      0.32%         2.76%
017                  59,120     -391     -0.66%       42,761     72.33%        66.02%     21.24%        6.94%     1.41%      0.25%      0.06%      0.54%         3.55%
018                  59,335     -176     -0.30%       45,159     76.11%        86.01%      7.17%        2.39%     0.62%      0.26%      0.04%      0.26%         3.24%
019                  59,752      241     0.40%        44,754      74.9%        63.16%     24.22%        6.82%     1.59%      0.19%      0.08%      0.48%         3.46%
020                  60,107      596     1.00%        45,725     76.07%         76.4%      7.96%        9.18%     2.03%      0.14%      0.04%      0.55%          3.7%
021                  59,529       18     0.03%        44,931     75.48%        82.07%      4.23%        7.44%     1.87%      0.22%      0.05%      0.61%         3.51%
022                  59,460      -51     -0.09%       45,815     77.05%        65.61%     13.32%       11.57%     4.04%      0.21%      0.03%      0.76%         4.47%
023                  59,048     -463     -0.78%       44,254     74.95%        75.29%      5.48%       14.23%     1.12%      0.21%      0.05%      0.32%          3.3%
024                  59,011     -500     -0.84%       41,814     70.86%        63.42%      6.04%       10.32%    16.41%      0.17%      0.05%      0.56%         3.03%
025                  59,414      -97     -0.16%       42,520     71.57%        56.12%      5.08%        5.09%    30.56%       0.1%      0.03%      0.45%         2.56%
026                  59,248     -263     -0.44%       44,081      74.4%        68.21%      3.18%       10.76%    14.26%      0.12%      0.04%      0.44%         2.99%
027                  58,795     -716     -1.20%       46,004     78.24%        82.61%      3.07%         9.6%     0.83%       0.2%      0.04%      0.24%          3.4%
028                  58,972     -539     -0.91%       44,444     75.36%        79.36%      3.15%       11.44%     2.16%      0.17%      0.03%      0.36%         3.33%
029                  59,200     -311     -0.52%       43,131     72.86%        42.29%     12.55%       39.71%     3.02%      0.14%      0.06%      0.33%         1.91%
030                  59,266     -245     -0.41%       45,414     76.63%         70.5%      7.19%       16.13%     2.96%      0.15%      0.02%      0.28%         2.77%
031                  59,901      390     0.66%        43,120     71.99%        68.65%      6.79%       18.95%     2.35%      0.21%      0.03%      0.32%         2.69%
032                  59,145     -366     -0.62%       45,942     77.68%        82.98%      7.21%        4.87%     1.25%      0.32%      0.05%       0.2%         3.12%
033                  59,187     -324     -0.54%       46,498     78.56%        82.25%     10.57%        3.13%     1.16%      0.15%      0.01%      0.29%         2.43%
034                  58,947     -564     -0.95%       44,933     76.23%        68.46%     15.79%        7.22%     4.33%       0.1%      0.03%      0.64%         3.43%
035                  59,689      178     0.30%        48,436     81.15%        49.35%     28.44%       10.97%     5.74%      0.21%      0.04%      0.95%         4.31%
036                  59,898      387     0.65%        45,316     75.66%        69.55%     14.06%        8.39%     3.59%      0.17%      0.05%      0.62%         3.58%
037                  58,927     -584     -0.98%       46,057     78.16%        48.11%     22.87%       19.33%     5.39%      0.21%      0.05%      0.81%         3.23%
038                  59,317     -194     -0.33%       44,839     75.59%         30.1%     51.13%       12.62%     1.87%      0.24%      0.05%      0.63%         3.36%



                                                                                                                                                             Page 1 of 5
                             Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 42 of 51
Population Summary                                                                                                                                     House-2023



District   Population Deviation   % Devn.    [18+_Pop] [% 18+_Pop]          [%         [%            [%        [%          [%        [%        [%           [%
                                                                     NH18+_Wht] NH18+_Blk]    H18+_Pop] NH18+_Asn] NH18+_Ind] NH18+_Hwn NH18+_Oth]    NH18+_2+
                                                                                                                                       ]                 Races]
039             59,381     -130     -0.22%       44,436     74.83%        23.47%      52.5%       18.66%     1.77%      0.17%      0.03%       0.6%         2.79%
040             60,184      673     1.13%        45,134     74.99%        62.93%     24.46%        6.74%     1.19%      0.28%      0.04%      0.64%         3.72%
041             60,122      611     1.03%        45,271      75.3%        27.62%     36.96%       28.55%     3.13%      0.22%      0.05%      0.84%         2.62%
042             59,017     -494     -0.83%       46,520     78.82%        42.88%     28.47%        18.3%     5.67%      0.22%      0.03%      0.79%         3.63%
043             59,626      115     0.19%        48,172     80.79%        44.01%     27.45%       11.91%      8.1%      0.22%      0.05%      2.54%         5.72%
044             60,002      491     0.83%        46,773     77.95%        67.69%      10.5%       10.53%     5.78%       0.2%      0.02%      1.06%         4.23%
045             59,738      227     0.38%        44,023     73.69%        74.94%      4.27%        4.85%    12.05%      0.05%      0.02%      0.59%         3.23%
046             59,108     -403     -0.68%       44,132     74.66%        74.81%      6.79%        7.38%     6.72%      0.13%      0.04%      0.61%         3.53%
047             59,126     -385     -0.65%       43,932      74.3%        63.89%       9.3%        7.37%    15.16%      0.17%      0.03%      0.62%         3.46%
048             59,003     -508     -0.85%       44,779     75.89%        61.77%     10.14%       12.41%    11.59%      0.08%      0.04%      0.56%         3.42%
049             59,153     -358     -0.60%       45,263     76.52%        71.48%      7.22%         6.7%    10.74%       0.1%      0.03%      0.63%         3.12%
050             59,523       12     0.02%        43,940     73.82%        44.37%      10.8%        6.36%    34.63%      0.07%      0.05%      0.58%         3.13%
051             58,952     -559     -0.94%       47,262     80.17%        54.33%      21.3%       13.31%     5.93%      0.18%      0.05%      1.01%         3.89%
052             59,811      300     0.50%        48,525     81.13%        55.14%     14.19%        7.41%    19.12%      0.14%      0.07%      0.68%         3.24%
053             59,953      442     0.74%        46,944      78.3%         71.2%     12.71%        7.44%     4.58%      0.09%      0.02%      0.54%         3.41%
054             60,083      572     0.96%        50,338     83.78%        62.98%     13.67%       12.79%     6.86%      0.13%      0.03%      0.53%         3.02%
055             59,115     -396     -0.67%       48,584     82.19%        34.86%     53.88%         4.8%     2.99%      0.19%      0.03%      0.39%         2.87%
056             59,783      272     0.46%        53,358     89.25%        34.24%     46.72%        5.63%     9.05%      0.19%      0.09%      0.43%         3.66%
057             58,961     -550     -0.92%       51,824      87.9%        62.79%     16.07%        7.89%     8.91%      0.08%      0.03%      0.55%         3.68%
058             58,788     -723     -1.21%       50,073     85.18%        32.37%     55.14%        5.51%     3.17%      0.14%      0.01%      0.54%         3.12%
059             59,434      -77     -0.13%       49,179     82.75%        22.04%     66.72%        4.43%      2.9%      0.17%      0.02%      0.54%         3.18%
060             59,560       49     0.08%        46,156     77.49%        37.33%     50.32%        5.82%     3.04%      0.16%      0.07%      0.41%         2.86%
061             59,161     -350     -0.59%       47,510     80.31%        32.22%     53.14%         4.6%     6.17%      0.15%      0.02%      0.62%         3.08%
062             59,450      -61     -0.10%       46,426     78.09%        19.07%     69.19%        6.83%      1.3%      0.21%      0.05%      0.47%         2.88%
063             59,381     -130     -0.22%       45,043     75.85%        19.22%      66.7%        9.26%     1.54%      0.21%      0.04%      0.47%         2.56%
064             59,608       97     0.16%        44,900     75.33%        36.54%     49.55%        7.88%     1.93%      0.18%      0.04%      0.63%         3.24%
065             59,129     -382     -0.64%       44,495     75.25%        24.25%     68.34%        3.19%     0.77%      0.16%      0.03%      0.49%         2.77%
066             60,306      795     1.34%        45,228       75%          31.2%     51.39%       11.86%     1.45%      0.29%       0.1%      0.56%         3.15%
067             59,135     -376     -0.63%       44,299     74.91%        30.86%     56.59%        7.75%     1.39%      0.19%      0.03%      0.49%          2.7%
068             59,477      -34     -0.06%       44,835     75.38%        33.94%     53.42%        6.33%     2.77%      0.14%      0.05%      0.63%         2.72%
069             58,682     -829     -1.39%       45,548     77.62%        26.89%      60.9%        5.42%     3.12%      0.18%      0.04%      0.78%         2.68%
070             59,121     -390     -0.66%       45,249     76.54%        59.69%     26.23%        7.96%     2.23%      0.22%      0.06%       0.4%         3.22%
071             59,538       27     0.05%        44,582     74.88%         69.8%     18.45%        6.18%     1.01%      0.24%      0.02%      0.42%         3.88%
072             59,660      149     0.25%        46,229     77.49%        69.24%     19.51%        6.94%     0.93%      0.19%      0.02%      0.23%         2.94%
073             60,036      525     0.88%        45,736     76.18%        72.58%     10.84%        7.05%     5.58%      0.14%      0.03%       0.4%         3.38%
074             59,120     -391     -0.66%       44,044      74.5%        23.69%     62.81%        7.84%       2%       0.19%      0.02%      0.62%         2.83%
075             59,743      232     0.39%        43,850      73.4%        11.27%     71.04%       11.28%     2.93%      0.18%      0.07%      0.66%         2.57%
076             59,759      248     0.42%        44,371     74.25%        10.51%      64.4%       13.23%     8.69%      0.21%      0.05%      0.51%         2.41%
077             59,242     -269     -0.45%       44,207     74.62%         7.58%     73.27%        12.2%     4.36%      0.23%      0.06%      0.41%          1.9%
078             59,734      223     0.37%        45,718     76.54%        24.39%     56.04%        9.25%     6.65%      0.22%      0.05%      0.63%         2.78%
079             59,500      -11     -0.02%       43,223     72.64%         7.15%     68.44%       16.03%     5.51%       0.2%      0.01%      0.56%         2.09%
080             59,461      -50     -0.08%       44,784     75.32%        47.63%     12.45%       23.12%    13.33%      0.07%      0.04%      0.56%         2.79%
081             58,919     -592     -0.99%       43,235     73.38%        65.85%     23.62%        4.81%     1.63%      0.19%      0.02%      0.44%         3.43%


                                                                                                                                                        Page 2 of 5
                             Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 43 of 51
Population Summary                                                                                                                                     House-2023



District   Population Deviation   % Devn.    [18+_Pop] [% 18+_Pop]          [%         [%            [%        [%          [%        [%        [%           [%
                                                                     NH18+_Wht] NH18+_Blk]    H18+_Pop] NH18+_Asn] NH18+_Ind] NH18+_Hwn NH18+_Oth]    NH18+_2+
                                                                                                                                       ]                 Races]
082             59,789      278     0.47%        46,252     77.36%        65.28%      24.3%        4.88%     1.86%      0.24%      0.02%      0.38%         3.04%
083             59,416      -95     -0.16%       46,581      78.4%         47.9%     13.51%       28.47%     6.91%       0.1%      0.02%      0.55%         2.55%
084             58,801     -710     -1.19%       46,355     78.83%         34.7%     53.33%        4.11%     3.79%      0.16%      0.03%      0.53%         3.36%
085             59,591       80     0.13%        46,239     77.59%        27.96%     49.14%        6.34%    12.44%      0.23%      0.02%      0.58%          3.3%
086             59,153     -358     -0.60%       45,107     76.25%        29.04%     52.17%        4.95%     9.96%      0.13%      0.02%      0.69%         3.05%
087             59,684      173     0.29%        46,046     77.15%        27.17%     51.12%        9.58%     8.34%      0.21%      0.02%      0.58%         2.98%
088             59,689      178     0.30%        46,073     77.19%         18.3%     60.15%        9.97%     7.64%      0.22%      0.07%      0.64%         3.01%
089             60,231      720     1.21%        48,361     80.29%        33.49%     54.66%        3.53%     4.52%      0.16%      0.04%      0.43%         3.17%
090             59,856      345     0.58%        48,477     80.99%        40.37%     48.88%         4.6%     2.33%       0.1%      0.03%       0.5%         3.19%
091             59,976      465     0.78%        46,174     76.99%        19.71%     71.99%        3.58%     1.02%      0.12%      0.02%      0.56%            3%
092             60,150      639     1.07%        45,550     75.73%        22.75%     64.96%        6.81%     1.82%      0.19%       0.1%      0.46%          2.9%
093             60,290      779     1.31%        45,092     74.79%         21.7%     61.57%        10.8%     2.09%      0.16%      0.02%      0.71%         2.96%
094             60,192      681     1.14%        45,155     75.02%        24.61%     54.61%        7.57%     9.41%      0.15%      0.01%      0.58%         3.06%
095             58,992     -519     -0.87%       43,421      73.6%        19.24%     62.89%        9.92%     3.73%       0.2%      0.04%      0.65%         3.33%
096             59,515        4     0.01%        44,671     75.06%        20.32%     20.75%       36.03%     19.7%      0.11%      0.04%       0.6%         2.44%
097             59,072     -439     -0.74%       46,339     78.44%        36.44%     24.16%       19.23%    16.07%      0.19%      0.05%       0.6%         3.25%
098             59,998      487     0.82%        42,734     71.23%        11.66%     20.91%       52.77%    12.28%      0.12%      0.05%      0.51%         1.71%
099             59,850      339     0.57%        45,004     75.19%         42.1%     13.07%        8.67%    32.63%      0.13%      0.04%      0.48%         2.89%
100             60,030      519     0.87%        42,669     71.08%        59.05%      8.86%        9.98%    18.41%      0.19%      0.06%      0.43%         3.02%
101             59,240     -271     -0.46%       47,353     79.93%        48.51%     18.97%       19.68%     8.93%      0.17%      0.02%      0.55%         3.17%
102             60,038      527     0.89%        44,409     73.97%        30.36%     37.41%       21.19%     7.41%      0.14%      0.04%      0.57%         2.88%
103             60,197      686     1.15%        44,399     73.76%        52.42%     15.01%       16.89%    12.19%      0.12%      0.03%       0.5%         2.83%
104             59,362     -149     -0.25%       43,306     72.95%        62.96%     15.44%       11.14%     6.38%      0.18%      0.05%      0.51%         3.34%
105             59,395     -116     -0.19%       43,980     74.05%        46.43%     21.38%       15.54%    12.96%      0.11%      0.01%      0.48%         3.09%
106             59,981      470     0.79%        44,518     74.22%        30.02%     24.78%       25.03%    17.13%      0.17%      0.05%      0.47%         2.34%
107             60,033      522     0.88%        46,162     76.89%        33.37%     22.36%       21.49%     19.1%      0.19%      0.06%      0.57%         2.87%
108             58,942     -569     -0.96%       44,123     74.86%        45.89%     15.57%       17.67%    17.37%      0.19%      0.03%      0.52%         2.76%
109             59,697      186     0.31%        44,206     74.05%         13.9%      29.9%       38.91%    14.15%      0.14%      0.03%      0.58%         2.38%
110             60,278      767     1.29%        43,324     71.87%        38.06%     40.83%       11.61%     5.08%      0.18%      0.04%      0.75%         3.45%
111             59,900      389     0.65%        43,967      73.4%        62.71%     21.95%        8.77%     2.57%       0.2%      0.04%      0.56%          3.2%
112             60,167      656     1.10%        45,446     75.53%        67.09%      22.9%        4.82%     1.51%      0.23%      0.04%      0.58%         2.83%
113             59,413      -98     -0.16%       44,248     74.48%          30%      58.32%         6.3%     1.06%       0.2%      0.12%      0.73%         3.27%
114             59,401     -110     -0.18%       45,971     77.39%        69.54%     23.15%        3.32%     0.83%      0.16%        0%       0.33%         2.66%
115             59,381     -130     -0.22%       46,468     78.25%        17.95%     72.19%        4.04%     1.81%      0.17%      0.01%      0.79%         3.04%
116             59,777      266     0.45%        45,550      76.2%        17.77%     70.91%        4.98%     2.87%       0.2%      0.07%      0.49%         2.71%
117             59,533       22     0.04%        43,634     73.29%        26.63%     59.48%        7.76%     2.09%      0.16%      0.08%      0.65%         3.14%
118             59,901      390     0.66%        46,298     77.29%        64.34%       28%          3.5%     0.52%      0.16%      0.04%      0.47%         2.97%
119             58,947     -564     -0.95%       44,005     74.65%         69.8%     12.31%       10.44%     3.75%      0.17%      0.02%      0.43%         3.08%
120             58,982     -529     -0.89%       46,767     79.29%        71.94%     13.21%        7.09%     4.18%      0.16%      0.05%      0.44%         2.91%
121             59,127     -384     -0.65%       46,598     78.81%        76.13%       8.6%        5.57%     5.84%       0.1%        0%       0.46%          3.3%
122             59,632      121     0.20%        48,840      81.9%         54.8%     27.13%        11.7%     2.41%      0.32%      0.06%      0.79%         2.79%
123             59,282     -229     -0.38%       46,572     78.56%        68.06%     23.42%        4.31%     1.06%      0.19%      0.02%       0.2%         2.75%
124             59,221     -290     -0.49%       47,638     80.44%        65.01%     24.61%        6.17%     1.08%      0.19%      0.02%      0.31%         2.61%


                                                                                                                                                        Page 3 of 5
                             Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 44 of 51
Population Summary                                                                                                                                     House-2023



District   Population Deviation   % Devn.    [18+_Pop] [% 18+_Pop]          [%         [%            [%        [%          [%        [%        [%           [%
                                                                     NH18+_Wht] NH18+_Blk]    H18+_Pop] NH18+_Asn] NH18+_Ind] NH18+_Hwn NH18+_Oth]    NH18+_2+
                                                                                                                                       ]                 Races]
125             60,137      626     1.05%        43,812     72.85%        63.03%     21.43%       7.66%       2.6%      0.31%      0.16%      0.39%         4.41%
126             59,260     -251     -0.42%       45,497     76.78%        39.97%     52.63%       3.17%      0.89%      0.29%      0.16%      0.29%         2.62%
127             58,678     -833     -1.40%       45,889      78.2%        68.13%     16.88%       4.77%      5.68%      0.19%      0.16%      0.43%         3.77%
128             58,864     -647     -1.09%       46,488     78.98%        46.49%     49.38%        1.7%      0.35%      0.19%      0.01%      0.17%         1.71%
129             58,829     -682     -1.15%       46,873     79.68%        37.16%     52.33%       4.26%       2.4%      0.19%      0.15%      0.41%          3.1%
130             59,203     -308     -0.52%       44,019     74.35%        33.74%     57.69%       3.86%      0.97%      0.26%      0.19%      0.34%         2.95%
131             58,890     -621     -1.04%       42,968     72.96%        68.16%     15.87%       5.87%      5.21%      0.21%       0.1%      0.55%         4.03%
132             59,142     -369     -0.62%       46,752     79.05%        35.63%     49.82%        7.8%      2.74%      0.27%      0.16%       0.3%         3.28%
133             58,893     -618     -1.04%       46,821      79.5%        60.99%     30.75%       5.69%      0.57%      0.19%      0.04%      0.14%         1.63%
134             59,575       64     0.11%        47,005      78.9%        66.82%     26.71%       2.61%      0.64%      0.26%      0.01%      0.25%         2.69%
135             59,870      359     0.60%        45,706     76.34%         71.1%     22.27%       2.71%      0.72%      0.18%      0.02%      0.28%         2.73%
136             59,298     -213     -0.36%       45,367     76.51%         63.9%     27.76%       3.64%      1.55%      0.26%      0.04%      0.29%         2.55%
137             59,551       40     0.07%        45,358     76.17%        40.82%     50.02%       4.48%      1.73%      0.12%      0.12%      0.26%         2.44%
138             58,912     -599     -1.01%       45,684     77.55%        72.34%     18.26%       3.31%      2.43%      0.26%      0.07%      0.35%         2.97%
139             59,010     -501     -0.84%       45,522     77.14%        66.19%     18.56%       6.36%      3.89%      0.25%      0.24%      0.46%         4.04%
140             59,294     -217     -0.36%       44,411      74.9%         31.7%     54.74%       8.02%      1.17%      0.24%       0.2%      0.49%         3.43%
141             59,019     -492     -0.83%       44,677      75.7%        31.77%     54.65%       6.55%      2.69%      0.27%       0.3%      0.38%         3.38%
142             59,312     -199     -0.33%       45,355     76.47%        42.49%     49.18%       3.27%      1.96%      0.17%      0.04%      0.31%         2.58%
143             59,432      -79     -0.13%       45,411     76.41%        39.97%     48.04%       7.06%      1.21%      0.24%      0.05%      0.29%         3.14%
144             59,307     -204     -0.34%       46,029     77.61%        71.86%     20.19%        3.3%      1.78%       0.2%      0.01%      0.23%         2.42%
145             58,805     -706     -1.19%       45,090     76.68%        42.51%     49.08%        4.1%      1.85%      0.17%      0.01%      0.34%         1.94%
146             60,203      692     1.16%        44,589     74.06%        61.84%     26.08%       4.73%      2.98%      0.18%      0.09%      0.39%         3.71%
147             60,375      864     1.45%        46,125      76.4%        56.94%     27.25%       6.83%      4.77%      0.25%      0.07%      0.41%         3.49%
148             59,984      473     0.79%        46,614     77.71%        60.45%     33.11%       3.08%      0.87%      0.14%      0.04%      0.21%          2.1%
149             59,715      204     0.34%        47,261     79.14%        45.49%     48.75%       2.13%       1.1%      0.16%      0.04%      0.35%         1.97%
150             59,276     -235     -0.39%       47,050     79.37%        38.31%      52.5%       6.13%      1.18%      0.16%      0.03%      0.15%         1.54%
151             60,059      548     0.92%        46,973     78.21%         47.2%     40.96%       7.28%      1.43%      0.18%      0.18%      0.19%         2.58%
152             60,134      623     1.05%        46,026     76.54%        67.94%     25.26%       2.34%      1.52%      0.24%      0.04%      0.19%         2.46%
153             59,299     -212     -0.36%       45,692     77.05%        27.66%     66.38%       2.55%        1%       0.16%      0.03%      0.23%         2.01%
154             59,994      483     0.81%        47,273      78.8%        42.24%     53.68%       1.67%      0.36%      0.19%        0%       0.16%          1.7%
155             58,759     -752     -1.26%       45,208     76.94%        59.77%      34.6%       2.22%      0.95%      0.16%      0.04%      0.21%         2.05%
156             59,444      -67     -0.11%       45,867     77.16%        60.92%     29.32%       6.88%      0.62%      0.16%      0.01%      0.15%         1.93%
157             59,957      446     0.75%        45,311     75.57%        64.48%      23.7%       8.96%      0.57%      0.17%      0.04%      0.16%         1.93%
158             59,440      -71     -0.12%       45,549     76.63%        62.21%      30.2%       4.52%      0.71%      0.21%      0.03%      0.18%         1.93%
159             59,895      384     0.65%        44,871     74.92%        69.39%     23.44%       2.87%      0.57%      0.31%      0.04%      0.26%         3.12%
160             59,935      424     0.71%        48,057     80.18%        68.48%     21.07%       5.04%      1.64%      0.24%      0.09%      0.27%         3.17%
161             60,097      586     0.98%        44,371     73.83%        60.16%     25.26%       6.82%      3.16%      0.25%      0.09%      0.48%         3.77%
162             60,308      797     1.34%        46,733     77.49%        40.62%     41.13%       9.58%      4.16%      0.22%      0.24%      0.44%         3.61%
163             60,123      612     1.03%        48,461      80.6%        41.92%     43.78%       7.38%       3.6%       0.2%       0.1%      0.33%         2.68%
164             60,101      590     0.99%        45,851     76.29%        60.61%     21.43%       8.49%      4.37%      0.26%      0.12%       0.6%         4.12%
165             59,978      467     0.78%        48,247     80.44%        39.18%     48.49%       5.33%      3.68%      0.25%      0.14%      0.35%         2.57%
166             60,242      731     1.23%        47,580     78.98%        84.71%      4.96%       4.07%      2.69%      0.18%      0.05%      0.36%         2.97%
167             59,493      -18     -0.03%       44,140     74.19%        65.96%     20.55%       7.41%      1.48%      0.39%      0.18%      0.39%         3.66%


                                                                                                                                                        Page 4 of 5
                                            Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 45 of 51
Population Summary                                                                                                                                                      House-2023



District          Population Deviation            % Devn.     [18+_Pop] [% 18+_Pop]          [%         [%            [%        [%          [%        [%        [%           [%
                                                                                      NH18+_Wht] NH18+_Blk]    H18+_Pop] NH18+_Asn] NH18+_Ind] NH18+_Hwn NH18+_Oth]    NH18+_2+
                                                                                                                                                        ]                 Races]
168                        60,147          636        1.07%       44,867      74.6%        39.29%     42.28%        10.3%     2.32%      0.33%      0.65%      0.38%         4.46%
169                        59,138          -373     -0.63%        45,267     76.54%        60.95%     28.12%        7.66%     0.88%      0.14%      0.03%      0.16%         2.06%
170                        60,116          605        1.02%       45,316     75.38%        64.17%     23.21%        8.65%     1.19%      0.12%      0.02%      0.25%         2.38%
171                        59,237          -274     -0.46%        45,969      77.6%        53.85%     38.58%        4.63%     0.56%      0.24%      0.02%      0.17%         1.95%
172                        59,961          450        0.76%       44,756     74.64%        61.03%     22.46%       13.42%     0.78%      0.23%      0.03%      0.19%         1.87%
173                        59,743          232        0.39%       45,292     75.81%        55.68%     35.18%        5.35%     0.84%      0.37%      0.02%      0.26%         2.31%
174                        59,852          341        0.57%       45,760     76.46%        72.25%     16.08%        7.96%     0.52%      0.38%      0.03%      0.15%         2.64%
175                        59,993          482        0.81%       44,704     74.52%        66.49%     23.13%        5.03%     1.85%      0.28%      0.06%       0.3%         2.86%
176                        59,470           -41     -0.07%        44,991     75.65%        66.15%     21.61%        8.24%     0.96%      0.25%       0.1%      0.19%         2.49%
177                        59,992          481        0.81%       46,014      76.7%        37.12%     51.68%        6.12%     1.36%      0.24%      0.08%      0.36%         3.04%
178                        59,877          366        0.62%       45,638     76.22%        77.79%     13.99%        5.14%     0.54%       0.2%      0.01%      0.23%         2.09%
179                        59,356          -155     -0.26%        47,156     79.45%        63.69%     25.74%        6.38%     1.07%      0.15%      0.11%      0.34%         2.51%
180                        59,412           -99     -0.17%        45,362     76.35%        71.17%     16.63%        5.62%     1.67%      0.31%      0.11%      0.47%         4.02%

Total:          10,711,908
Ideal District:     59,511


Summary Statistics:
Population Range:                   58,678 to 60,375
Ratio Range:                        0.03
Absolute Range:                     -833 to 864
Absolute Overall Range:             1,697
Relative Range:                     -1.40% to 1.45%
Relative Overall Range:             2.85%
Absolute Mean Deviation:            372.39
Relative Mean Deviation:            0.63%
Standard Deviation:                 433.63




                                                                                                                                                                         Page 5 of 5
Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 46 of 51




                       EXHIBIT 4
                                        Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 47 of 51
      User: H123
 Plan Name: House-2023
  Plan Type: House

Population Summary
*Census designation “AP” denotes respondents who are Any or Part of a race category; respondents may fall into more than one category.

District        Population Deviation          % Devn. [% 18+_Pop]                 [%               [%               [%               [%               [%           [%            [%           [%
                                                                          18+_AP_Wht]      18+_AP_Blk]       H18+_Pop]      18+_AP_Ind]       18+_AP_Asn] 18+_AP_Hwn]   18+_AP_Oth] 18+_2+ Races]


001                    59,666          155        0.26%          78.44%          94.22%             4.2%           2.11%           3.02%           0.76%        0.09%         2.14%          4.3%
002                    59,773          262        0.44%          77.22%          92.38%           3.15%            7.57%           2.59%           1.31%        0.05%         6.13%          5.5%
003                    60,199          688        1.16%           77.6%          93.81%           3.35%            2.96%           2.93%           1.84%         0.2%          2.7%         4.72%
004                    59,070         -441       -0.74%          72.45%          67.92%           5.38%           44.13%            4.5%           1.51%         0.1%         34.2%        13.19%
005                    58,837         -674       -1.13%          75.84%          87.41%             4.6%          12.62%           3.01%           1.48%        0.09%        10.48%         6.79%
006                    59,712          201        0.34%          75.62%          91.41%           1.51%           11.96%           3.45%           0.73%        0.06%         9.23%         6.16%
007                    59,081         -430       -0.72%          82.55%          95.49%           0.62%            5.53%           2.88%           0.67%        0.04%         4.95%         4.51%
008                    59,244         -267       -0.45%          83.74%          96.78%           1.43%            2.74%           2.62%           0.77%        0.06%         2.73%         4.24%
009                    59,474          -37       -0.06%          81.17%          95.52%           1.57%            4.74%                 3%        1.29%        0.15%         4.22%         5.51%
010                    59,519            8        0.01%          79.24%           90.2%           3.73%           10.04%            2.6%           1.84%        0.12%         8.09%         6.27%
011                    58,792         -719       -1.21%          77.21%          95.24%           1.85%            4.23%           2.68%           1.38%        0.09%         4.15%         5.25%
012                    59,300         -211       -0.35%          78.39%          85.66%           9.68%            6.15%           2.44%           1.25%        0.06%         5.57%         4.44%
013                    59,150         -361       -0.61%          76.38%          74.05%          19.18%           10.84%           2.45%           1.66%        0.09%         9.36%         6.59%
014                    59,135         -376       -0.63%          76.96%          89.71%           6.85%            5.88%           2.98%            1.1%        0.07%         5.06%         5.47%
015                    59,213         -298       -0.50%          77.33%          79.28%          14.19%            9.67%           2.79%           1.69%        0.14%         8.29%         6.07%
016                    59,402         -109       -0.18%          74.09%          82.46%          11.69%            8.61%           2.34%           1.03%        0.13%         7.23%         4.68%
017                    59,120         -391       -0.66%          72.33%          73.09%          23.02%            6.94%           2.22%           1.94%        0.16%         6.22%         6.29%
018                    59,335         -176       -0.30%          76.11%           90.5%           7.98%            2.39%           2.48%           0.88%        0.08%         2.38%         4.05%
019                    59,752          241        0.40%           74.9%          69.82%          26.06%            6.82%           2.27%           2.22%        0.15%          5.9%         5.98%
020                    60,107          596        1.00%          76.07%          85.48%           9.25%            9.18%           2.23%           2.79%        0.13%         8.38%         7.86%
021                    59,529           18        0.03%          75.48%          90.45%           5.06%            7.44%           2.38%           2.49%        0.13%         6.85%         7.08%
022                    59,460          -51       -0.09%          77.05%          76.47%           15.1%           11.57%           2.61%           4.92%        0.17%         10.6%         9.39%
023                    59,048         -463       -0.78%          74.95%          85.52%             6.5%          14.23%           2.96%            1.7%        0.14%        11.25%         7.75%
024                    59,011         -500       -0.84%          70.86%          72.04%              7%           10.32%           1.61%          17.23%         0.1%         9.94%         7.61%
025                    59,414          -97       -0.16%          71.57%          62.41%             5.9%           5.09%            0.8%          31.41%        0.12%         5.16%          5.5%
026                    59,248         -263       -0.44%           74.4%           76.8%           4.01%           10.76%           1.86%          14.93%        0.09%         9.96%         7.35%
027                    58,795         -716       -1.20%          78.24%          90.72%           3.69%             9.6%           2.81%           1.21%        0.08%         8.22%         6.51%
028                    58,972         -539       -0.91%          75.36%          88.61%           3.93%           11.44%           2.46%           2.71%        0.11%        10.06%         7.54%
029                    59,200         -311       -0.52%          72.86%          60.33%          13.59%           39.71%           2.65%            3.4%         0.1%        32.56%        12.31%
030                    59,266         -245       -0.41%          76.63%          81.09%             8.1%          16.13%           2.18%           3.42%        0.07%        13.76%         8.32%
031                    59,901          390        0.66%          71.99%           79.7%           7.57%           18.95%           2.69%           2.78%        0.12%         15.7%         8.35%
032                    59,145         -366       -0.62%          77.68%          88.28%           7.96%            4.87%           2.61%           1.51%        0.12%         4.26%         4.48%
033                    59,187         -324       -0.54%          78.56%          86.06%           11.2%            3.13%           1.81%            1.4%        0.07%         3.04%         3.36%
034                    58,947         -564       -0.95%          76.23%          75.72%          17.31%            7.22%           1.83%           5.12%        0.09%         7.01%         6.65%
035                    59,689          178        0.30%          81.15%          58.96%          31.54%           10.97%                 2%        6.75%        0.15%         9.95%         8.67%
036                    59,898          387        0.65%          75.66%          77.67%          15.71%            8.39%           2.08%           4.36%        0.18%         7.89%         7.38%
037                    58,927         -584       -0.98%          78.16%          59.16%          24.92%           19.33%           2.46%           6.02%        0.19%        16.44%         8.75%
038                    59,317         -194       -0.33%          75.59%          37.52%          54.23%           12.62%           2.14%            2.4%        0.17%        11.15%         7.12%



                                                                                                                                                                                                    Page 1 of 5
                             Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 48 of 51
Population Summary                                                                                                                                                     House-2023



District   Population Deviation   % Devn. [% 18+_Pop]           [%            [%                            [%           [%           [%           [%            [%
                                                        18+_AP_Wht]   18+_AP_Blk]   [% H18+_Pop]   18+_AP_Ind]   18+_AP_Asn] 18+_AP_Hwn]   18+_AP_Oth] 18+_2+ Races]


039             59,381     -130     -0.22%     74.83%        31.85%        55.29%        18.66%          2.05%        2.28%        0.12%        16.75%         7.87%
040             60,184      673     1.13%      74.99%        69.68%        26.41%         6.74%           2.4%        1.64%        0.12%         6.34%         6.27%
041             60,122      611     1.03%       75.3%        42.58%        39.35%        28.55%          2.53%        3.67%        0.14%        23.53%        11.19%
042             59,017     -494     -0.83%     78.82%        54.56%        31.03%         18.3%          2.04%        6.47%        0.13%        15.84%         9.59%
043             59,626      115     0.19%      80.79%        54.71%        30.25%        11.91%            2%         8.99%         0.1%        14.62%        10.13%
044             60,002      491     0.83%      77.95%        77.79%        12.05%        10.53%          2.11%        6.75%        0.13%        10.47%          8.8%
045             59,738      227     0.38%      73.69%        81.68%         5.28%         4.85%          1.22%       12.98%        0.08%          5.2%         6.09%
046             59,108     -403     -0.68%     74.66%        83.08%         8.07%         7.38%          1.52%        7.77%        0.14%          7.2%         7.38%
047             59,126     -385     -0.65%      74.3%        71.89%        10.72%         7.37%          1.66%       16.07%        0.14%         7.25%         7.16%
048             59,003     -508     -0.85%     75.89%        71.45%        11.79%        12.41%          1.55%       12.59%        0.16%        11.71%          8.8%
049             59,153     -358     -0.60%     76.52%        79.05%         8.42%          6.7%          1.27%       11.65%         0.1%         6.59%          6.7%
050             59,523       12     0.02%      73.82%        51.11%         12.4%         6.36%          0.93%        35.8%        0.16%         6.46%         6.36%
051             58,952     -559     -0.94%     80.17%        64.38%        23.68%        13.31%          1.84%        6.89%        0.16%         12.8%         9.16%
052             59,811      300     0.50%      81.13%        62.49%        15.99%         7.41%          1.23%       20.06%        0.21%         7.21%         6.76%
053             59,953      442     0.74%       78.3%        78.71%        14.53%         7.44%          1.39%        5.45%        0.13%         7.31%         6.97%
054             60,083      572     0.96%      83.78%        71.84%        15.47%        12.79%          1.29%        7.86%        0.11%        11.71%         7.84%
055             59,115     -396     -0.67%     82.19%        39.47%        56.39%          4.8%          1.33%        3.72%        0.17%         3.94%         4.52%
056             59,783      272     0.46%      89.25%        40.34%        49.38%         5.63%          1.24%       10.47%        0.21%         4.53%         5.68%
057             58,961     -550     -0.92%      87.9%        70.57%        17.98%         7.89%          1.36%       10.28%        0.14%         7.17%           7%
058             58,788     -723     -1.21%     85.18%        37.82%        57.67%         5.51%          1.25%        3.98%         0.1%         4.22%         4.62%
059             59,434      -77     -0.13%     82.75%        26.52%        70.09%         4.43%          1.32%        3.64%        0.15%         3.61%         4.84%
060             59,560       49     0.08%      77.49%        41.98%        52.93%         5.82%          1.32%        3.72%        0.17%         5.34%         4.95%
061             59,161     -350     -0.59%     80.31%        36.87%        55.91%          4.6%          1.32%        6.96%         0.1%         4.44%         5.08%
062             59,450      -61     -0.10%     78.09%        23.61%        72.26%         6.83%          1.46%        1.88%        0.13%         5.99%         4.85%
063             59,381     -130     -0.22%     75.85%        24.72%        69.33%         9.26%          1.65%        2.02%        0.12%         7.54%         4.84%
064             59,608       97     0.16%      75.33%        42.19%        52.43%         7.88%          1.95%        2.34%        0.12%         7.03%         5.65%
065             59,129     -382     -0.64%     75.25%        27.23%        71.27%         3.19%          1.44%        1.15%        0.07%         3.23%         3.98%
066             60,306      795     1.34%        75%         37.99%        54.28%        11.86%          2.19%        1.85%        0.24%        10.37%         6.43%
067             59,135     -376     -0.63%     74.91%        35.99%        58.92%         7.75%          1.54%        1.88%         0.1%         7.01%         5.01%
068             59,477      -34     -0.06%     75.38%        38.68%        55.75%         6.33%          1.51%        3.31%        0.13%         6.01%         5.02%
069             58,682     -829     -1.39%     77.62%        31.02%        63.56%         5.42%          1.47%         3.6%        0.09%          5.2%         4.55%
070             59,121     -390     -0.66%     76.54%        66.16%        27.83%         7.96%          2.26%        2.74%        0.13%         6.92%         5.68%
071             59,538       27     0.05%      74.88%        76.44%        19.92%         6.18%          2.71%        1.44%        0.13%         5.63%         5.91%
072             59,660      149     0.25%      77.49%        74.61%        20.86%         6.94%          2.03%        1.18%        0.09%         5.93%         4.49%
073             60,036      525     0.88%      76.18%        80.24%        12.11%         7.05%          1.94%        6.46%        0.11%         6.33%         6.86%
074             59,120     -391     -0.66%      74.5%        28.39%          66%          7.84%          1.82%        2.52%        0.14%         6.68%         5.08%
075             59,743      232     0.39%       73.4%        15.97%         74.4%        11.28%          1.66%        3.38%        0.14%          10%          5.11%
076             59,759      248     0.42%      74.25%        15.83%        67.23%        13.23%          2.04%        9.11%        0.15%         11.6%         5.53%
077             59,242     -269     -0.45%     74.62%        11.69%        76.13%         12.2%          1.59%        4.55%        0.12%         10.5%         4.21%
078             59,734      223     0.37%      76.54%        29.38%        58.99%         9.25%          1.68%        7.17%        0.18%         8.52%         5.42%
079             59,500      -11     -0.02%     72.64%        12.44%        71.59%        16.03%          1.85%        5.89%        0.12%         13.8%         5.27%
080             59,461      -50     -0.08%     75.32%        57.91%        14.18%        23.12%          2.69%       14.23%        0.14%         20.3%         8.91%
081             58,919     -592     -0.99%     73.38%        71.43%        25.18%         4.81%          2.13%        2.22%        0.12%         4.58%         5.28%


                                                                                                                                                                        Page 2 of 5
                             Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 49 of 51
Population Summary                                                                                                                                                   House-2023



District   Population Deviation   % Devn. [% 18+_Pop]           [%            [%                          [%           [%           [%           [%            [%
                                                        18+_AP_Wht]   18+_AP_Blk] [% H18+_Pop]   18+_AP_Ind]   18+_AP_Asn] 18+_AP_Hwn]   18+_AP_Oth] 18+_2+ Races]


082             59,789      278     0.47%      77.36%        70.88%       25.46%         4.88%         2.14%        2.29%        0.08%         4.43%         5.02%
083             59,416      -95     -0.16%      78.4%        59.34%       15.12%        28.47%         2.72%        7.79%        0.09%        24.84%         9.46%
084             58,801     -710     -1.19%     78.83%        39.19%       56.06%         4.11%         1.52%        4.52%        0.13%          4.1%         4.97%
085             59,591       80     0.13%      77.59%        33.49%       51.92%         6.34%         1.44%       13.48%        0.15%         4.98%         5.01%
086             59,153     -358     -0.60%     76.25%        33.43%       54.63%         4.95%         1.28%       10.87%        0.11%           5%          4.83%
087             59,684      173     0.29%      77.15%        32.48%       53.86%         9.58%         1.75%        9.01%        0.12%         8.98%         5.81%
088             59,689      178     0.30%      77.19%        23.47%       63.35%         9.97%         1.78%        8.28%        0.18%         9.37%         5.91%
089             60,231      720     1.21%      80.29%        37.82%       57.09%         3.53%         1.23%        5.44%        0.12%         3.27%         4.52%
090             59,856      345     0.58%      80.99%        45.64%       51.11%          4.6%         1.16%        3.29%        0.17%         4.19%          5.1%
091             59,976      465     0.78%      76.99%        22.69%       75.04%         3.58%         1.46%        1.39%        0.11%         3.96%         4.26%
092             60,150      639     1.07%      75.73%        26.91%       68.11%         6.81%         1.42%        2.14%        0.22%         6.59%         5.04%
093             60,290      779     1.31%      74.79%        27.44%       64.87%         10.8%         1.58%        2.64%        0.11%         9.92%         6.08%
094             60,192      681     1.14%      75.02%        29.54%       57.53%         7.57%         1.68%       10.06%         0.1%          7.2%         5.63%
095             58,992     -519     -0.87%      73.6%        25.08%       66.74%         9.92%         1.77%        4.34%        0.19%          9.2%         6.75%
096             59,515        4     0.01%      75.06%         33.9%          23%        36.03%         2.54%       20.53%        0.19%        31.68%        11.26%
097             59,072     -439     -0.74%     78.44%        47.06%       26.77%        19.23%         1.88%        17.2%        0.18%        17.08%         9.67%
098             59,998      487     0.82%      71.23%        28.91%       23.25%        52.77%         3.49%        12.9%         0.2%         45.7%        13.77%
099             59,850      339     0.57%      75.19%        49.54%       14.71%         8.67%         1.26%       33.72%        0.18%          7.8%         6.77%
100             60,030      519     0.87%      71.08%        67.78%       10.01%         9.98%         1.77%       19.32%        0.13%         8.95%         7.59%
101             59,240     -271     -0.46%     79.93%        58.55%       21.15%        19.68%         2.27%       10.02%        0.11%        17.34%         8.91%
102             60,038      527     0.89%      73.97%        41.82%       40.31%        21.19%         1.97%        8.19%        0.14%        18.43%        10.23%
103             60,197      686     1.15%      73.76%        63.32%       16.79%        16.89%         1.93%       12.99%        0.13%         14.5%         9.13%
104             59,362     -149     -0.25%     72.95%        71.77%       17.03%        11.14%         2.12%        7.19%        0.19%         9.63%         7.53%
105             59,395     -116     -0.19%     74.05%        57.29%       23.53%        15.54%          1.9%       13.87%        0.13%        13.24%         9.45%
106             59,981      470     0.79%      74.22%        42.16%       26.95%        25.03%         2.35%       17.92%        0.14%         21.5%        10.46%
107             60,033      522     0.88%      76.89%        45.79%       24.68%        21.49%         2.17%        20.1%        0.18%        18.41%        10.81%
108             58,942     -569     -0.96%     74.86%         55.6%       17.28%        17.67%         2.19%       18.26%        0.13%        15.47%         8.44%
109             59,697      186     0.31%      74.05%        29.67%       32.96%        38.91%         2.46%       15.05%        0.16%        33.85%        13.57%
110             60,278      767     1.29%      71.87%        46.34%       43.99%        11.61%         1.99%        5.88%        0.14%        10.47%         8.18%
111             59,900      389     0.65%       73.4%        69.69%       23.76%         8.77%         2.12%         3.2%        0.15%         7.99%         6.51%
112             60,167      656     1.10%      75.53%        71.97%       24.27%         4.82%         1.98%        1.86%        0.11%         4.53%          4.5%
113             59,413      -98     -0.16%     74.48%        34.66%        61.3%          6.3%         1.62%        1.49%        0.21%         6.17%         5.13%
114             59,401     -110     -0.18%     77.39%        73.61%       24.32%         3.32%           2%         1.08%        0.08%         3.07%         3.84%
115             59,381     -130     -0.22%     78.25%        21.27%       75.45%         4.04%         1.46%        2.27%        0.06%         4.48%         4.53%
116             59,777      266     0.45%       76.2%         21.3%       73.91%         4.98%         1.48%        3.28%        0.15%         4.67%         4.33%
117             59,533       22     0.04%      73.29%        32.11%       62.93%         7.76%         1.62%         2.6%        0.18%         6.81%         5.83%
118             59,901      390     0.66%      77.29%        68.76%       29.41%          3.5%         2.04%        0.74%        0.13%         3.44%         4.21%
119             58,947     -564     -0.95%     74.65%         77.8%       13.49%        10.44%         2.33%        4.21%        0.11%         8.87%         6.53%
120             58,982     -529     -0.89%     79.29%        78.44%       14.28%         7.09%         1.72%        4.79%        0.15%         6.12%         5.25%
121             59,127     -384     -0.65%     78.81%        82.76%        9.56%         5.57%         1.71%         6.7%        0.06%         4.91%         5.43%
122             59,632      121     0.20%       81.9%        61.99%       28.42%         11.7%         1.58%        3.44%        0.17%        10.48%         5.82%
123             59,282     -229     -0.38%     78.56%        72.64%       24.28%         4.31%         1.99%        1.41%        0.13%         3.92%           4%
124             59,221     -290     -0.49%     80.44%        70.43%       25.58%         6.17%         1.69%         1.5%        0.15%         5.72%         4.76%


                                                                                                                                                                      Page 3 of 5
                             Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 50 of 51
Population Summary                                                                                                                                                   House-2023



District   Population Deviation   % Devn. [% 18+_Pop]           [%            [%                          [%           [%           [%           [%            [%
                                                        18+_AP_Wht]   18+_AP_Blk] [% H18+_Pop]   18+_AP_Ind]   18+_AP_Asn] 18+_AP_Hwn]   18+_AP_Oth] 18+_2+ Races]


125             60,137      626     1.05%      72.85%        71.14%       23.68%         7.66%         2.61%        3.94%        0.39%         6.17%         7.27%
126             59,260     -251     -0.42%     76.78%        43.53%       54.47%         3.17%         1.61%        1.29%        0.28%         2.66%         3.53%
127             58,678     -833     -1.40%      78.2%        74.43%       18.52%         4.77%           2%         6.66%        0.27%         4.19%         5.67%
128             58,864     -647     -1.09%     78.98%        48.92%       50.41%          1.7%         1.12%        0.54%        0.09%         1.59%         2.35%
129             58,829     -682     -1.15%     79.68%        41.55%       54.87%         4.26%         1.55%        3.05%        0.23%         3.51%         4.35%
130             59,203     -308     -0.52%     74.35%        37.74%       59.91%         3.86%         1.68%        1.55%        0.31%         3.32%         4.14%
131             58,890     -621     -1.04%     72.96%        75.64%       17.62%         5.87%         1.96%        6.67%        0.33%           5%          6.69%
132             59,142     -369     -0.62%     79.05%        42.23%       52.34%          7.8%         1.64%        3.52%        0.31%         5.62%         5.23%
133             58,893     -618     -1.04%      79.5%        66.38%       32.15%         5.69%         1.15%        0.75%         0.1%         1.97%         2.23%
134             59,575       64     0.11%       78.9%         70.7%       27.74%         2.61%         1.97%        1.01%        0.07%         2.29%         3.47%
135             59,870      359     0.60%      76.34%        75.06%       23.24%         2.71%         1.84%        0.98%         0.1%         2.57%         3.59%
136             59,298     -213     -0.36%     76.51%        68.22%       28.67%         3.64%         1.83%        1.82%        0.09%         3.37%         3.77%
137             59,551       40     0.07%      76.17%        44.85%       52.13%         4.48%         1.29%        2.19%        0.25%         3.35%          3.8%
138             58,912     -599     -1.01%     77.55%          77%        19.32%         3.31%         1.95%           3%        0.19%         3.09%         4.26%
139             59,010     -501     -0.84%     77.14%        73.58%       20.27%         6.36%         2.28%        5.09%        0.38%         5.27%         6.48%
140             59,294     -217     -0.36%      74.9%         37.7%       57.63%         8.02%         1.82%        1.93%         0.4%         6.54%         5.55%
141             59,019     -492     -0.83%      75.7%        37.56%       57.46%         6.55%         1.83%        3.57%        0.55%         5.25%         5.65%
142             59,312     -199     -0.33%     76.47%         46.1%       51.26%         3.27%         1.34%         2.5%        0.15%         2.54%         3.57%
143             59,432      -79     -0.13%     76.41%        45.06%       50.17%         7.06%         1.82%        1.77%        0.14%         6.32%         4.97%
144             59,307     -204     -0.34%     77.61%        75.85%       20.98%          3.3%         1.85%        2.06%        0.07%           3%          3.59%
145             58,805     -706     -1.19%     76.68%        45.44%        50.3%          4.1%         1.21%        2.13%        0.09%         3.93%          2.9%
146             60,203      692     1.16%      74.06%        68.04%       27.61%         4.73%          1.9%        4.05%        0.25%         4.21%         5.71%
147             60,375      864     1.45%       76.4%        63.51%       28.87%         6.83%         2.07%        5.79%        0.19%         5.96%         5.93%
148             59,984      473     0.79%      77.71%         63.8%       34.02%         3.08%         1.45%         1.2%        0.08%         2.62%         2.97%
149             59,715      204     0.34%      79.14%        48.08%       50.03%         2.13%         1.09%        1.31%        0.12%         2.12%         2.56%
150             59,276     -235     -0.39%     79.37%        41.44%       53.56%         6.13%         1.01%        1.39%        0.14%         5.31%         2.62%
151             60,059      548     0.92%      78.21%        51.59%       42.41%         7.28%         1.54%        1.95%        0.43%         6.22%          3.7%
152             60,134      623     1.05%      76.54%        71.41%       26.06%         2.34%         1.71%        1.92%        0.15%         2.22%         3.21%
153             59,299     -212     -0.36%     77.05%         30.1%       67.95%         2.55%         0.98%        1.34%        0.12%         2.24%         2.54%
154             59,994      483     0.81%       78.8%        44.27%       54.82%         1.67%          1.3%        0.56%        0.09%         1.43%         2.17%
155             58,759     -752     -1.26%     76.94%        62.52%       35.85%         2.22%         1.28%        1.17%        0.09%         1.94%         2.62%
156             59,444      -67     -0.11%     77.16%        65.37%       30.25%         6.88%         1.48%        0.82%        0.07%         5.64%          3.4%
157             59,957      446     0.75%      75.57%        69.33%       24.67%         8.96%         1.49%        0.77%        0.13%         7.46%          3.5%
158             59,440      -71     -0.12%     76.63%        65.77%       31.19%         4.52%         1.46%        0.89%        0.12%         3.79%         3.03%
159             59,895      384     0.65%      74.92%         73.8%        24.5%         2.87%         2.26%        0.96%        0.11%         2.61%           4%
160             59,935      424     0.71%      80.18%        73.88%        22.6%         5.04%          1.8%        2.29%        0.25%         4.02%         4.58%
161             60,097      586     0.98%      73.83%        67.28%       27.14%         6.82%         2.24%        3.94%        0.21%         5.91%         6.29%
162             60,308      797     1.34%      77.49%        47.37%       43.73%         9.58%         1.86%        4.96%        0.41%         8.28%         6.16%
163             60,123      612     1.03%       80.6%        47.16%       45.49%         7.38%         1.56%        4.26%        0.21%         6.32%         4.65%
164             60,101      590     0.99%      76.29%        69.02%       23.47%         8.49%         2.31%        5.32%        0.32%         7.11%         7.08%
165             59,978      467     0.78%      80.44%        43.56%       50.33%         5.33%          1.4%        4.16%        0.24%         4.41%         3.79%
166             60,242      731     1.23%      78.98%         90.3%        5.67%         4.07%          1.7%        3.42%        0.16%          3.9%         4.93%
167             59,493      -18     -0.03%     74.19%        72.91%       22.28%         7.41%         2.65%        2.08%        0.34%           6%          5.82%


                                                                                                                                                                      Page 4 of 5
                                            Case 1:21-cv-05339-SCJ Document 327-1 Filed 12/18/23 Page 51 of 51
Population Summary                                                                                                                                                                   House-2023



District          Population Deviation            % Devn. [% 18+_Pop]           [%            [%                          [%           [%           [%           [%            [%
                                                                        18+_AP_Wht]   18+_AP_Blk] [% H18+_Pop]   18+_AP_Ind]   18+_AP_Asn] 18+_AP_Hwn]   18+_AP_Oth] 18+_2+ Races]


168                        60,147          636        1.07%     74.6%        48.02%       46.26%         10.3%          2.3%        3.38%        0.99%         7.58%         7.71%
169                        59,138          -373     -0.63%     76.54%        65.58%       29.04%         7.66%         1.59%        1.08%        0.08%         6.28%         3.43%
170                        60,116          605        1.02%    75.38%         70.1%       24.22%         8.65%         1.75%        1.46%        0.08%         7.23%          4.6%
171                        59,237          -274     -0.46%      77.6%         57.1%        39.6%         4.63%         1.33%        0.76%        0.05%          4.1%         2.82%
172                        59,961          450        0.76%    74.64%        68.01%       23.32%        13.42%         1.83%        0.98%        0.08%        10.79%         4.85%
173                        59,743          232        0.39%    75.81%        59.57%       36.27%         5.35%         1.93%         1.1%        0.06%         4.78%         3.57%
174                        59,852          341        0.57%    76.46%          79%        17.37%         7.96%         2.25%        0.84%        0.17%          4.3%         3.66%
175                        59,993          482        0.81%    74.52%        71.97%       24.17%         5.03%         1.81%        2.39%         0.2%          4.3%         4.58%
176                        59,470           -41     -0.07%     75.65%        72.53%       22.68%         8.24%          1.8%        1.26%        0.23%         6.32%         4.51%
177                        59,992          481        0.81%     76.7%         42.4%       53.88%         6.12%         1.65%        1.93%        0.27%         4.89%         4.64%
178                        59,877          366        0.62%    76.22%        82.05%       14.79%         5.14%         1.56%        0.73%        0.07%         3.95%         2.98%
179                        59,356          -155     -0.26%     79.45%        68.68%       27.03%         6.38%         1.57%        1.47%        0.24%         5.56%         4.29%
180                        59,412           -99     -0.17%     76.35%        78.29%       18.21%         5.62%         2.62%        2.52%        0.32%         4.28%         5.81%

Total:          10,711,908
Ideal District:     59,511


Summary Statistics:
Population Range:                   58,678 to 60,375
Ratio Range:                        0.03
Absolute Range:                     -833 to 864
Absolute Overall Range:             1,697
Relative Range:                     -1.40% to 1.45%
Relative Overall Range:             2.85%
Absolute Mean Deviation:            372.39
Relative Mean Deviation:            0.63%
Standard Deviation:                 433.63




                                                                                                                                                                                      Page 5 of 5
